AO 106(Rev. 04/10) Appliclition for 1ISearchWarrant



                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                          District of Massachusetts

             In the Matter of the Search of                           )
         (Brieflydescribe theproperty to be searched                  )
          or identifythe person by name and address)                  )        Case No. 13-MJ- ),16& (MBB)
· The Boston Society of the New Jerusalem Church, 140                 )
           Bowdoin Street, Boston, MA 02108                           )
                                                                      )

                                            APPLICATION FOR A SEARCH WARRANT
·         1,a federal law enforcement officer or an attorney for the government, request a search warrant and state under
· penalty of perjury that I have reason to believe that on the following person or property (identifythe person or describe the
property to be searchedand give its location):
  SEE ATIACHMENT A
located in the        County of Suffolk          District of         Massachusetts          , there is now concealed (identifythe
                                                               -----------
person or describe the propertyto be seized):

  SEE ATIACHMENT B

          The basis for the search under Fed. R. Crim. P. 41(c) is (checkone or more):
                 mevidence of a crime;
                 m  contraband, fruits of crime, or other items illegally possessed;
                 ri property designed for use, intended for use, or used in committing a crime;
                 CJ a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
           Code Section                                                        Offense Description
       18 U.S.C. 1341, 1343, 1512,                Mail and Wire Fraud, Obstruction of Justice, Extortion, Money Laundering,
       1951,1956, 1962;26U.S.C.                   Racketeering, False Tax Returns, Narcotics Trafficking
       7206;21 U.S.C. 841
          The application is based on these facts:
        SEE ATTACHMENT C




· Sworn to before me and signed in my presence.




 City and state: Boston, Massachusetts
                                                                                           Printedname and title
                                    AITACHMENT A
                               (CHURCH SEARCH WARRANT)

The Boston Society of the New Jerusalem Church is located at 140 Bowdoin Street, Boston,
Massachusetts (hereinafter, the "CHURCH"). The CHURCH and the Bostonview Apartments
are located within the same building, which is a single building, with the address, 130-140
Bowdoin Street on Beacon Hill in Boston, almost directly across from the staff entrance to the
Massachusetts State House. The building stands 18 stories and has a brick facade. At the street
level, four decorative concrete pillars extend up the front center of the building and support an
off-white, wooden A-frame sign which reads, "Swedenborgian" and below it, "Church On The
Hill." Under the A-frame sign, between the two middle pillars is a set of double wooden door
under an arched window and a sign that reads "BOSTON SOCIETY OF THE NEW
JERUSALEM." To each side of the wooden doors, set between the outer pillars, is a single
rectangular window set below an arched window. There is a flower box located beneath each of
these two windows. To the left and below the A-frame sign is an off-white wooden portico that
is set above a single door and an arched window. Markings on the front of this portico identify
the address as "130" and below it, "Bowdoin Street." This doorway is further identified with the
words, "BOSTONVIEW APARTMENTS." Immediately to the left of the entrance to 130
Bowdoin Street is the driveway leading into the building's parking garage. To the right and
below the A-frame sign is an off-white wooden portico that is set above a single door and an
arched window. Markings on the front of this portico identify the address as "140" and below it,
"Bowdoin Street." This doorway is further identified with the words, "NEW JERUSALEM
CHURCH ENTRANCE." Photographs of the CHURCH are attached hereto as Exhibit A.
   ;   i




EXHIBIT A
                                               ATTACHMENTB
                                       (CHURCH SEARCH WARRANT)

        I.      The records and items sought from the Boston Society ofthe New Jerusalem Church, 140
Bowdoin Street, Boston, MA are more particularly described as the evidence, fruits and instrumentalities of
violations of: (A) Title 18, United States Code, Section 1341 (mail fraud); (B) Title 18, United States Code,
Section 1343 (wire fraud); (C) Title 18, United States Code, Section 1951 (interference with commerce by
extortion); (D) Title 18, United States Code, Section 1962 (racketeering); (E) Title 18, United States Code,
Section 1956 (money laundering); (F) Title 26, United States Code, Section 7206(1) (subscribing to false tax
returns); (G) Title 18, United States Code, Section 1512 (obstruction ofjustice); (H) Title 31, United States
Code, Section 5324 (structuring currency transactions); (I) Title 21, United States Code, Section 841 (narcotics
trafficking); and (1) conspiracy to commit these offenses, some in violation of Title 18, United States Code,
Section 371, to include:

        a. Documents, records, correspondence, contracts and agreements, personnel files, bid proposals, job
specifications, invoices and bills, budgets, ledgers, accounting records, tax records, tax forms, tuition payment
and tuition grant records, memoranda, notes, e-mails, telephone messages, diary and calendar entries, board
minutes, trustee minutes, council minutes, by-laws, charters, certificates of incorporation, membership rolls,
membership records and other information, from January 1,2002 to the present, pertaining to the following:




                                         [continued on following page.]
 a. Edward J. Mackenzie, Jr.                             a.    Fillabuster Catering Trust
 b. Courtney Mackenzie                                   b.    Fillabusta Food Service
 c. Carolyn Mackenzie                                    c.    Courmac Realty Trust
 d. Ronald Mackenzie                                     d.    Mackenzie Construction
 e. Ronald Mackenzie, Jr.                                e.    EIMIR (aka ElM) [real estate consulting
 f. Maria Mackenzie                                           and construction]
 g. Lauren Mackenzie                                     f     Harborview Real Estate Corporation
 h. Krystal Donnelly (aka Krystal MacDonald)             g.    Space Propulsion Systems, Inc.
 i. Thomas J. Kennedy                                    h.    MZA Trust
j. John Burke                                            i.    Boston Society of the New Jerusalem,
 k. Doug Hanson                                               Inc.
 I. Michael Snedecker                                   J.     Bostonview Corp. Board
 m. Jack Snedecker                                      k.    BVCTrust
 n. Martin Raffol                                        I.    Looney & Grossman
 o. Mathew Raffol                                        m.    Low Overhead Discount Carpet
 p. Lindsey Raffol                                       n.   Metro City Painting Services, Inc.
 q. Michael Travers                                      o.   ASAP Plumbing and Heating
 r. Robert Hynes                                         p.    Superior Plumbing Inc.
 s. Michael Perry                                        q.   Nightingale Construction Co. Inc.
1. Peter O'Connell                                       r.   Lovely Pets, Inc.;
 u. AlNugent
v. TinaBunn
w. Juan Figueroa
 x. Mark Palluccio
y. Steven Bourgoin
 z. Larry Reardon
 aa. Marianne Baker
bb. John Baker
 cc. Will Rodrigues
 dd. Christopher Hebert
 ee. Thomas DeRosa
ff. William Lane
gg. David Doherty
hh. Stephen Richmond
 ii. John Southern
ii. Steven (aka Glenn S.) Ellis
kk. Rex Ellis
 II. All Church tuition grant recipients




b. U.S. currency; and

c. Oxycodone (and records relating to oxycodone).




II.    All computer hardware, computer software, computer-related documentation, and storage media.
       Off-site searching of these items shall be limited to searching for the items described in
       paragraph 1.
                                                        DEFINITIONS

         For the purpose of this warrant:

                 A.      "Computer equipment" means any computer hardware, computer software, computer­
                         related documentation, storage media, and data.

                 B.      "Computer hardware" means any electronic device capable of data processing (such as a
                         computer, personal digital assistant, cellular telephone, or wireless communication
                         device); any peripheral input/output device (such as a keyboard, printer, scanner,
                         monitor, and drive intended for removable storage media); any related communication
                         device (such as a router, wireless card, modem, cable, and any connections), and any
                         security device, (such as electronic data security hardware and physical locks and keys).

                 C.      "Computer software" means any program, program code, information or data stored in
                         any form (such as an operating system, application, utility, communication and data
                         security software; a log, history or backup file; an encryption code; a user name; or a
                         password), whether stored deliberately, inadvertently, or automatically.

                 D.      "Computer-related documentation" means any material that explains or illustrates the
                         configuration or use of any seized computer hardware, software, or related items.

                 E.      "Storage media" means any media capable of collecting, storing, retrieving, or
                         transmitting data (such as a hard drive, CD, DVD, or memory card).

                 F.      "Data" means all information stored on storage media of any form in any storage format
                         and for any purpose.

                 G.      "A record" is any communication, representation, information or data. A "record" may
                         be comprised of letters, numbers, pictures, sounds or symbols.



                                  RETURN OF SEIZED COMPUTER EQUIPMENT

         If, after inspecting seized computer equipment, the government determines that the equipment does not contain

contraband or the passwords, account information, or personally-identifying information of victims, and the original is no

longer necessary to retrieve and preserve as evidence, fruits or instrumentalities of a crime, the equipment will be returned

within a reasonable time, if the party seeking return will stipulate to a forensic copy's authenticity (but not necessarily

relevancy or admissibility) for evidentiary purposes.

         If computer equipment cannot be returned, agents will make available to the computer system's owner, within a

reasonable time period after the execution of the warrant, copies of files that do not contain or constitute contraband;

passwords, account information, or personally-identifying information of victims; or the fruits or instrumentalities of

crime.
                                          Attachment C

                             UNITED STATES DISTRICT COURT
                              DISTRICTOF MASSACHUSEITS

STATE OF MASSACHUSEITS

COUNTY OF SUFFOLK                                 AFFIDA VIT


       KRISTA L. CORR, being of age and duly sworn according to law, states:

        1. I am a Special Agent with the Federal Bureau of Investigation(FBI), and am assigned

to the FBI in Boston, Massachusetts. I have been an agent with the FBI for approximately 23

years. I have participated in and conducted criminal investigations involving violations of the

laws of the United States, including the laws relating to racketeering, extortion, mail fraud,

bribery, money laundering, narcotics trafficking, and conspiracy. In the course of these

investigations, I also have examinedthe personal and business records of individuals and

organizations.

       2. I have been involved, along with other FBI, InternalRevenue Service, Criminal

Investigation Division ("IRS-CID"), and U.S. Drug Enforcement Administration("DEA")

special agents, in the investigationof the conduct of individuals, including Edward J.

MacKenzie, Jr., Thomas Kennedy,and others for, among other things, violations of: (A) Title

18, United States Code, Section 1341 (mail fraud); (B) Title 18, United States Code, Section

1343 (wire fraud); (C) Title 18, United States Code, Section 1951 (interference with commerce

by extortion); (0) Title 18, United States Code, Section 1962 (racketeering); (E) Title 18, United

States Code, Section 1956 (money laundering); (F) Title 26, United States Code, Section 7206(1)

(subscribing to false tax returns); (G) Title 18, United States Code, Section 1512 (obstructionof

justice); (H) Title 31, United States Code, Section 5324 (structuring currencytransactions); (I)


                                                -1-"
Title 21, United States Code, Section 841 (narcotics trafficking); and (J) conspiracy to commit

these offenses, some in violation of Title 18, United States Code, Section 371 1 (hereinafter, the

"specified federal offenses").

        3. The subject locations (hereinafter, the "subject locations") soughtto be searchedare as

follows:

        (A)     The BostonSocietyof the New Jerusalem Churchis locatedat 140 Bowdoin
                 Street, Boston, Massachusetts (hereinafter, the "CHURCH"). The CHURCH and
                 the Bostonview Apartments are located within the same building, which is a
                 single building, with the address, 130-140 Bowdoin Street on BeaconHill in
                 Boston, almost directly across from the staff entrance to the Massachusetts State
                 House. The building stands 18 stories and has a brick facade. At the street level,
               . four decorative concretepillars extend up the front center of the buildingand
                 support an off-white, wooden A-frame sign which reads, "Swedenborgian" and
                 below it, "Church On The Hill." Under the A-frame sign, between the two
                 middlepillars is a set of double wooden door under an arched windowand a sign
                 that reads"BOSTON SOCIETY OF THE NEW JERUSALEM." To each side of
                 the wooden doors, set between the outer pillars, is a single rectangular window set
                 below an arched window. There is a flowerbox located beneath each of these
                 two windows. To the left arid below the A-frame sign is an off-white wooden
                 porticothat is set above a single door and an arched window. Markings on the
                 front of this portico identify the address as "130" and below it, "Bowdoin Street."
                 This doorway is further identified with the words, "BOSTONVIEW
                 APARTMENTS." Immediately to the left of the entrance to 130 BowdoinStreet
                 is the driveway leading into the building's parking garage. To the right and
                 belowthe A-frame sign is an off-white woodenporticothat is set above a single
                 door and an arched window. Markings on the front of this portico identifythe
                 address as "140" and below it, "Bowdoin Street." This doorway is further
                 identified with the words,"NEW JERUSALEM CHURCH ENTRANCE."
                 Photographs of the CHURCH are attached hereto as Exhibit A.

        (B)     The Bostonview management office suite of the BostonviewApartments is
                located at 130 Bowdoin Street, Unit 1804, Boston, Massachusetts (hereinafter, the
                "BOSTONVIEW OFFICE"). The BOSTONVIEW OFFICE is located on the


       Some of the statutes detailed above contain their own conspiracy provisions, such as Title 18,
United States Code, Sections 1349, 1956, and 1962.



                                                  -2­
                 18th floor, unit 1804, of 130 Bowdoin Street, within the Bostonview Apartments.
                 Upon exiting the elevator on the 18th floor, the office is to the right, the last
                 apartment on the left at the end of the hall. The entrance to the management
                 office is located to the left of the doorway to the roof deck (which is straight
                 ahead at the end of the hall). The BOSTONVIEW OFFICE door has a sign which
                 identifies it as the management/rental office. The BOSTONVIEW OFFICE
                 occupies a two-room apartment that also has a galley kitchen and a bathroom.
                 There is one office located in the room upon entering as well as a second office in
                 the room behind it.

        (C)      The personal residence of EDWARD J. MACKENZIE is located at 955 Pleasant
                 Street, Unit 1, I East Weymouth, Massachusetts 02189 (hereinafter, the
                 "MACKENZIE RESIDENCE"). The MACKENZIE RESIDENCE is part of a
                 row of townhouses identified as "Farrah Gardens" by a sign located at the
                 beginning of the single driveway into the complex. Fifteen individual units are
                 connected by one or two common walls (the two end units each have one
                 common wall while the other units each have two common walls) to create a
                 rectangular footprint for the entire structure. Each of the units are virtually
                 identical in design and color with white clapboard facades, red front doors (each
                 with an oval window), and red shutters on each of two second floor windows.
                 Each unit appears to have two full stories as well as a third-story dormer window.
                 Access to each unit can be gained via the front door, which faces the complex's
                 driveway. Designated parking spaces for each unit are located on the opposite
                 side of the driveway. Unit I is located on the left end of the complex as you face
                 it from the front. The front door is on the right side of the unit at the top of a
                 small set of concrete stairs which are flanked by wrought-iron banisters. To the
                 left of the front door is a two-window bay window with a black-painted metallic
                 number "1" on the outside window frame. To the right of the front door is a small
                 single window. The second story has two individual shuttered windows above
                 and to the left of the front door and one single window above and to the right of
                 the front door. The third story has a single, dormered window. Photographs of
                 the MACKENZIE RESIDENCE are attached as Exhibit B.




          A searchof publicly filed records showsthat MACKENZIE refersto the MACKENZIE RESIDENCE as
953 PleasantStreet, Unit I, East Weymouth, MA and as 955 Pleasant Street, Unit I, East Weymouth, MA
interchangeably, even though both addresses are one and the sameproperty, and are identified under the same block,
lot, and parcel numberthat is recordedby the Weymouth Registry of Deeds. Indeed, a LexisNexis searchshowed
an address listingfor MACKENZIE as "953-955 PleasantSt Unit I, East Weymouth, MA." Therefore, the
MACKENZIE RESIDENCE, whichis depicted in Exhibit B, shall includereferences to 953 Pleasant Street, Unit I,
East Weymouth, MA and as 955 Pleasant Street, Unit 1, East Weymouth, MA.


                                                       -3­
        4. I am familiar with the information contained in this Affidavit through: (A) review of

docwnents and records received from third parties, including local government, bank, property,

and financial records; (B) information provided by cooperating witnesses; (C) witness

interviews; and (D) briefings with other agents and law enforcement officers. Since this

Affidavit is submitted for the limited purpose of securing authorization to search the subject

locations, I have not included each and every faet known concerning this investigation. Where I

refer to statements of others, those statements have been related in substance and in part.

        OVERVIEW OF AFFIDAVIT

        5. The first section of this Affidavit provides background information concerning certain

subjects and other individuals and entities material to this ongoing grand jury investigation. The

second section of this Affidavit sets forth a detailed summary of certain of the illegal schemes

uncovered during the investigation and the relation of the subject locations to those schemes.

The final section of this Affidavit describes the evidence, fruits and instrumentalities that there is

probable cause to believe are located at the subject locations and sets forth a request: (A) for

permission to search the subject locations after 6:00 a.m. and before 10:00 p.m.; and (B) that this

application and related documents remain sealed, except for copies of the search warrants and

inventory notices necessary for execution at the subject locations, until further order of this Court

due to the continuing nature of this ongoing grand jury investigation.

I.      SUBJECTS AND OTHER INDIVIDUALS AND ENTITIES

        6. The Boston Society of the New Jerusalem, Incorporated (hereinafter, "BSNJ" or the

"Church") is a charitable religious non-profit corporation, which operates as a church, and was

established under the laws of the Commonwealth of Massachusetts. The Church classifies itself

as a Swedenborgian Church, which follows the theological writings of Emanuel Swedenborg,




                                                 -4­
and traces its roots back to 1818. According to its website.' the Church currentlyhas six

"Church Officers:" (a) President; (b) President Emeritus; (c) Vice President; (d) Secretary; (e)

Director of Operations; and (f) Interim C.F.O. The Churchalso has eight Trustees, including a

Chairman, President,President Emeritus, Treasurer, and four at-large members. The "Church

Staff" also includes an Office Administrator, a Director of Operations, a C.F.O., a Treasurer, an

Administrative Assistant, and a Sexton. Three of the Church Staff positions are duplicativeof

Church officer positions of the same title.

        7. The Church established Bostonview Corporation, Inc. (hereinafter, "BVC") for the

specific purpose of holding title to the Bostonview Apartments, a property located at 130-140

Bowdoin Street, Boston, Massachusetts (hereinafter, the "BOSTONVIEW APARTMENTS").

The BOSTONVIEW APARTMENTS consist of an 18-story apartment buildingwith

approximately 145 residential rental units. These rental units generate net income to the Church

of approximately $1.4 million per year. Each year since in or about 2006, BVC has remitted all

of its net income to the Church. Prior to in or about 2006, BVC maintained its income in

interest-bearingaccountsthat were controlled and managed by a real estate management

company called Winn Management (hereinafter, "WINN MANAGEMENT"), which then passed

a portion ofDVC rental income profits to the Church.

        8. EDWARD 1. MACKENZIE, JR., 55, is a self-professed and federally convicted

former criminal, who has admitted responsibilityfor committing various crimes throughouthis

life within Massachusetts, which includedburglary, robbery, armed assault, sexual assault, and

narcotics trafficking.' In 1993,MACKENZIE pled guilty in Boston Federal DistrictCourt to


2
         See www.churchonthehillboston.org.
         MACKENZIE recounts most of his criminalresume and violentcriminal exploits in "Street Soldier: My
Life as ail Enforcerfor Whitey Bulger and the Boston Irish Mob," a 2003 autobiography of MACKENZIE, which
MACKENZIEco-authored with two other authors.


                                                    -5­
conspiracy to distribute cocaine. In or about 2002, MACKENZIE joined the Church, and

thereafter obtained various positions within the Church, including Treasurer, Trustee, and

Director of Operations (the last position was newly created for MACKENZIE after

MACKENZIE joined the Church). MACKENZIE also held official positions within BYC,

including BVC Director.

       9. MACKENZIE was a former Church Trustee and has been the Director of Operations

for the Church since in or about December 2003. MACKENZIE receives yearly compensation

from the Church, which currently includes approximately $120,000 in salary, use ofa Church

credit card, approximately $3,000 per month to purportedly provide Church catering services,

and other bonuses. MACKENZIE, his relatives, and his associates also have received various

benefits paid for by the Church, including: purchased motor vehicles, leased motor vehicles,

education tuition payments, loans, horne improvement expenses, mortgage forgiveness

payments, and other miscellaneous payments.

       10. MACKENZIE is the principal of two companies: (a) Fillabuster Catering Trust (d/b/a

Fillabusta Food Service), a shell company that MACKENZIE used, among other purposes, to

receive commercial kickback payments (hereinafter, "FILLABUSTER"), and (b) Courmac

Realty Trust, a shell company that purported to provide real estate investment and other services

(hereinafter, "COURMAC").

       11. MACKENZIE concealed his controlling interests in FILLABUSTER and

COURMAC by causing FILLABUSTER to be established in the name of Krystal Donnelly (an

ex-girlfriend of MACKENZIE's, hereinafter "DONNELLY"), and by causing COURMAC to be

established in the name of Courtney MacKenzie (MACKENZIE's daughter). In reality,

however, MACKENZIE controlled and used FILLABUSTER and COURMAC to, among other




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things, conceal MACKENZIE's receipt of: (i) stolen Church and BVC funds; (ii) illegal

kickbacks on Church-related and BVC-related transactions; and (iii) other corrupt proceeds, as

described below in Section II of this affidavit.

        12. A cooperating witness, THOMAS 1. KENNEDY, was a former Massachusetts Bay

Transportation Authority employee and private business owner, and was a member ofthe Church

from in or about 2002 to in or about 2008. From in or about 2002 to in or about 2008,

KENNEDY held various positions at the Church and BVC, including Church Trustee, BVC

President, and Bv'C Director. KENNEDY was an associate of MACKENZIE and had

introduced MACKENZIE to the Church.

        13. JOHN BURKE was an associate of MACKENZIE's and became a Church member

through MACKENZIE. BURKE also was the Church Treasurer from in or about 2003 to in or

about March 2006. BURKE and MACKENZIE, created and controlled an entity called

Harborview Real Estate Corporation (hereinafter, "HARBORVlEW"), which was funded by

Church funds, and which purported to be a real estate investment company. In fact,

HARBORVIEW was used to funnel Church money to MACKENZIE, BURKE, and their

associates.

        14. Another cooperating witness, MARTIN RAFFOL, was an associate of

MACKENZIE's, and a former executive at WINN MANAGEMENT, the company that managed

the BOSTONVIEW APARTMENTS, the Church's residential rental property, from as least as

early as the mid-1990s until the Fall of2010.




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II.     PROBABLE CAUSE PERTAINING TO THE SPECIFIED FEDERAL OFFENSES

        15. The investigation has revealed that MACKENZIE, KENNEDY, and other

individuals conspired to obtain authority and influence within the Church in order to cause the

Church to operate as a corrupt enterprise. Once MACKENZIE and KENNEDY obtained the

necessary authority and influence within the Church, they used the Church to fraudulently enrich

themselves through: (i) embezzling Church funds that were derived from the Church's rental

income on the BOSTONVIEW APARTMENTS; (ii) stealing third party payments that were due

and owing to the Church and BVC; (iii) collecting kickbacks from vendors that provided goods

and services to the Church; and (iv) overbilling and collecting fees for catering services to the

Church, among other means.

        16. From in or about 2004 through in or about 2012, MACKENZIE received over

approximately $700,0004 i~ corrupt cash and third party payments through the schemes listed in

the above paragraph. A review of MACKENZIE's U.S. Federal Income Tax Returns, Form

1040, for the years 2007 through 2011 revealed that MACKENZIE falsely reported his income

for such years by failing to report MACKENZIE's income from the above-described schemes.

        17. The investigation also has revealed that MACKENZIE is involved in the sale and

distribution of controlled substances, namely, oxycodone; and that MACKENZIE has used the

CHURCH and the MACKENZIE RESIDENCE as locations to store oxycodone for the purposes

of his distribution.

        Background - MACKENZIE and MACKENZIE's Co-conspirators Transform the
        Church into a Corrupt Enterprise

        18. The Church's organizational structure was based upon Church membership

representation. In other words, Church members voted to elect the Church Trustees and other

4      . This figure does not include other Church funded benefits to MACKENZIE, which includedleased and
purchased motor vehicles, tuition grants, and unpaid and forgiven loans, amongother things.


                                                    -8­
Church executives, and the Trustees and executives then assumed authority and control over

Church matters, which included the Church's and BVC's finances. According to KENNEDY

and others, beginning in or about 2002, MACKENZIE and KENNEDY plotted to gain control of

the Church by recruiting their family members and other associates to become voting Church

members.

         19. Through filling the Church membership ranks with their supporters, MACKENZIE

and KENNEDY soon assumed positions of authority within the Church, which enabled

MACKENZIE and KENNEDY to exercise control over the Church's finances and other

matters.' By 2003, MACKENZIE was a Church Trustee and the Treasurer for the Church and

BVC, KENNEDY was the Church Trustee Chairman and the President ofBVC, and

MACKENZIE-associate BURKE was a Direct.or ofBVC. According to KENNEDY, however,

it was not until MACKENZIE caused amendments to the Church's By-Laws that MACKENZIE

effectively cemented his grip over the Church.

         20. In or about November 2003, approximately one month before the Church appointed

MACKENZIE as the Church's first and (to date) only Director of Operations, MACKENZIE

used his influence within the Church to cause the Church to amend its By-Laws. The

amendment to the Church's By-Laws caused four significant changes to the Church's

governance rules, all of which increased MACKENZIE's authority within the Church, and

inured to MACKENZIE's benefit, as follows:

         a.   The Church declared its independence from all other religious organizations,
              including its former parent, the General Convention of the New Jerusalem in the
              United States of America, a Swedenborgian institution (the "General Convention"),


5        To further theirscheme to controlthe Church, MACKENZIE and KENNEDY sought to curryfavor with
the Church's then-reverend, Reverend StevenELLIS (aka Glenn S. Ellis)and ELLIS's brother,Rex Ellis,through
various means, which included supporting initiatives to: (i) increase ELLIS's salary; (ii) forgive loans and extend
additional loans to ELLIS; (iii) pay for motor vehicle expenses for ELLIS and Rex Ellis; and (iv) directChurch
contractors to hire Rex Ellis.


                                                        -9­
            which had formerly exercised oversight authority over Church governance and other
            Church matters;

       b.   Church membership could be attained through a majority vote, instead of a two­
            thirds vote; and former Church members would lose their voting rights after only
            two years of inactivity as opposed to three years;

       c.   The Church Treasurer was no longer subject to the "direction and control" of Church
            Trustees and could disburse Church monies and make investments without Church
            Trustee voting approval; and

       d.   (i) BVC property could be transferred and sold without the requirement of a two­
            thirds Church membership vote; (ii) there was no restriction on BVC profits inuring
            to private stockholders or individuals; and (iii) any changes to the physical plant of
            the BOSTONVIEW APARTMENTS was to be "directed by a Director of
            Operations" (emphasis added).

       21. The amendment to the Church's By-Laws effectively: (i) wrested oversight over

Church governance matters from the General Convention, the parent organization; (ii) permitted

MACKENZIE to purge the Church membership rolls and replace them with his associates; and

(iii) placed the Church's financial reins into the hands of one individual- a Treasurer, whom was

handpicked by MACKENZIE (e.g., BURKE from 2003 to 2006, and DOUG HANSON, another

MACKENZIE associate, from 2006 to 2009).

       22. Moreover, combined with the reduced financial oversight, MACKENZIE, as the

Director of Operations, now had the official authority to direct changes to the physical plant of

Church property and the BOSTONVIEW APARTMENTS, which included the appointment of

commercial contractors and other vendors. In essence, through the amended By-Laws,

MACKENZIE had opened the Church for business - namely, the business offurthering

MACKENZIE's various corrupt schemes. These schemes are detailed below by Section: (i)

Section A describes MACKENZIE's Church embezzlement schemes; (ii) Section B describes

MACKENZIE's Church check theft scheme; and (iii) Section C describes MACKENZIE's

multiple Church commercial kickbackschemes.


                                               -10­
        A. The Church Embezzlement Schemes

        23. In 2003, while MACKENZIE was the Church Treasurer, Church bank accounts were

used to purchase and/or fund the following:

        a. a 2004 Jeep Grand Cherokee that was purchased for $33,581.40 for KENNEDY
        (Church bank check signed by MACKENZIE);

        b. a 2000 Jeep Grand Cherokee that was purchased for $18,390 for MACKENZIE's
        brother, RONALD MACKENZIE (Church bank check signed by MACKENZIE);

        c. a 2004 Chrysler Pacifica Wagon that was purchased for $34,875 for MACKENZIE's
        ex-wife, CAROLYN MACKENZIE (Ofiicial bank check drawn upon a Church account);

        d. a $50,000 official bank check issued to MACKENZIE's personal attorney (AI
        Nugent) to pay for private legal fees owed by MACKENZIE (Official bank check drawn
        upon a Church account);

        e. a $5,000 check from HARBORVIEW (which was funded by the Church) that was
        payable to MACKENZIE; and

        f. a $5,000 check from HARBORVIEW that was payable to MACKENZIE's daughter,
        COURTNEY MACKENZIE.


        24. As noted above, by the end of2003, MACKENZIE stepped down from the

. unsalaried position of Church Treasurer and assumed the newly created position of Church

Director of Operations, with a starting salary of $100,000 per year." MACKENZIE's associate,

BURKE, was appointed to replace MACKENZIE as Treasurer. But even though MACKENZIE

no longer exercised official control over Church funds as Treasurer, according to KENNEDY,

MACKENZIE's access and influence over Church money (through handpicked associates,

including BURKE) were extensive and significant.




       As the Director of Operations, MACKENZIE became authorized to "be responsible for
the overall duties of the [Church,]" according to MACKENZIE's employment contract with the
Church.

                                              -11­
          The Church Investment Scheme

          25. In or about 2004, MACKENZIE and KENNEDY conspired to defraud the Church

through a stock investment scheme in which MACKENZIE and KENNEDY used their influence

and authority within the Church to cause the Church to invest approximately $200,000 from its

Massachusetts bank account into a Florida company called Space Propulsion Systems, Inc.

("SPACE PROPULSION,,).7 And, as per the conspiracy, and unbeknownst to the other Church

Trustees, SPACE PROPULSION principals then kicked back $40,000 each to MACKENZIE

and KENNEDY. MACKENZIE received and funneled his kickback, as follows:

    Date (transaction)               Payor                             Payee                      Amount

6/4/2004 (wire)           BVC(CHURCH                     SPACE PROPULSION                     $200,000
                          subsidiary)
6/7/2004 (wire)           SPACE PROPULSION               KENNEDY                              $40,000

6/8/2004 (wire)           SPACE PROPULSION               COURMAC                              $40,000

6/9/2004 (check)          COURMAC                        MACKENZIE's personal                 $10,000
                                                         attorney


          The Church Tuition-Grant Scheme

          26. MACKENZIE and KENNEDY also used their authority and influence in the Church

to profit from the Church's tuition-grant program. As part of the Church's charitable activities,

the Church used the rental profits from the BOSTONVIEW APARTMENTS to offer academic

tuition grants to Church members. The program was open to Church members and their family

members, who were then required to submit an application for approval by the Church Trustees.


7
         KENNEDY informed the FBI that the Church receivedapproximately 400,000 sharesof stock in SPACE
PROPULSION (which also did businessunderthe name ofM E I Corporation, accordingto public records).
Accordingto OTCMarkets.com, a website that tracks the stocks of certainsmall market companies, as of April 24,
2013. the total approximate marketvalueof the Church's SPACE PROPULSION stock is currently $4,000.
(SPACE PROPULSION's share price,with 31,686,679 shares outstanding and an estimatedmarket valueof
$316,867, results in a value of approximately I cent per share, or par value.)


                                                     -12­
       27. In practice, however, MACKENZIE and KENNEDY used the Church tuition-grant

programas a vehicle to enrich themselves, and as a tool to gain influence over other Church

members and others. Throughthe period from in or about 2004 to in or about 2011,

MACKENZIE and KENNEDY used their influenceto obtain over approximately $800,000 in

Churchtuition grants for their respectivefamily members and associates. The Church continues

to spend approximately $125,000 annually in tuition grants to Church membersand their

respective relatives and/or associates.

       28. From in or about 2006 to in or about 2008, MACKENZIE also used the Church's

tuition-grantprogramto defraud the Church by funding a cash kickbackscheme. At that time,

MARTIN RAFFOL, an executiveat WINN MANAGEMENT (the management company for the

BOSTONVIEW APARTMENTS) had two children that were attending college. Neither

RAFFOL nor his children(Mathewand Lindsey) were members of the Church, which was a pre­

requisite for applicants for the Church tuition-grant program.

       29. MACKENZIE, however, used his influence and authority within the Churchto assist

RAFFOL in obtainingChurch tuition grants for RAFFOL's children that totaled approximately

$108,980 during the period from 2006 to 2008. In or about January 2006, after the Churchhad

issued a$15,OOO tuition grant to RAFFOL's son, MACKENZIE met with RAFFOL at a Dunkin

Donuts store near the Church. According to RAFFOL, at this meeting, MACKENZIE stated that

because MACKENZIE was "short" (meaning that MACKENZIE needed money)and since

RAFFOL was "a little bit ahead" (meaning that RAFFOL had received the Churchtuition grant),

RAFFOL needed to "help" MACKENZIE (meaningthat RAFFOL had to pay MACKENZIE for

his assistanceat the Church).




                                               -13­
       30. According to RAFFOL, shortly after the January 2006 meeting with RAFFOL,

MACKENZIE met with RAFFOL in front of the Church and MACKENZIE accepted an

envelope containing approximately $2,000 to $3,000 in cash from RAFFOL. Following this first

cash kickback payment, MACKENZIE would contact RAFFOL each time the Church had either

approved Or paid a tuition grant for one ofRAFFOL's children, and would ask RAFFOL for

"help," meaning a cash payment. RAFFOL would then meet with MACKENZIE and pay

MACKENZIE cash in return for MACKENZIE's assistance with the Church tuition grants, as

detailed below, on the following approximate dates:

   Date                . . Mailed Tuition Grant                        Cash Kickback
1/1/2006     Church mails $15,000 tuition check to Boston     RAFFOL pays $2,000-$3,000
             College payable for RAFFOL's son                 cash to MACKENZIE in front of
                                                              the Church shortly after
8/3/2006     Church maTls $15,006 tuition check to Boston     RAFFOL pays $2,000-$3,000
             College payable for RAFFOL's son                 cash to MACKENZIE shortly
                                                              after
1/4/2007     Church mails $15,000 tuition check to Boston     RAFFOL pays $2,000-$3,000
             College payable for RAFFOL's son                 cash to MACKENZIE shortly
                                                              after
6/14/2007    Church mails $15,000 tuition check to Boston     RAFFOL pays $2,000-$3,000
             College payable for RAFFOL's son                 cash to MACKENZIE shortly
                                                              after
1/4/2008     Church mails $15,000 tuition check to Boston     RAFFOL pays $2,000-$3,000
             College payable for RAFFOL's son                 cash to MACKENZIE shortly
                                                              after
7110/2008    Church mails $15,000 tuition check to            RAFFOL pays $2,000-$3,000
             Quinnipiac University for RAFFOL's daughter      cash to MACKENZIE shortly
                                                              after
8/14/2008    Church mails $18,980 tuition check to Boston     RAFFOL pays $2,000-$3,000
             College payable for RAFFOL's son                 cash to MACKENZIE shortly
                                                              after
TOTALS       Church Tuition Grants to RAFFOL ­                MACKENZIE Kickbacks ­
             $108,980                                         $14,000 to $21,000

       The Fillabuster Catering Scheme

       31. The Church's charitable activities also included providing free meals once a week to

Church members and other Church service attendees. As the Director of Operations,


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_....   ---------------­




   MACKENZIE used his influence and authority to assume control over the catering activities of

   the Church's weekly meal services. Through this influence, MACKENZIE devised a scheme

   whereby MACKENZIE causedthe Church to pay a company that was secretly controlledby

   MACKENZIE for such food services.

            32. Next door to the Churchat 142 Bowdoin Street was a restaurantcalled Fill-A-Buster

   Restaurant, which had been doing business next to the Churchfor over twentyyears. In or about

   May 2006, MACKENZIE caused the creation of an entity called "FillabusterCateringTrust"

   (FILLABUSTER) in the name of MACKENZIE's ex-girlfriend, KRYSTAL DONNELLY, and

   obtained an employer identification number ("EIN,,)8 for FILLABUSTER. In or about June

   2006, MACKENZIE opened a bank account in FILLABUSTER's name and EIN, but with

   MACKENZIE as the sole signatory authority on the account, and with MACKENZIE's

   associate, TINA BURM'S9 address in Braintree as the accountmailing address. According to

   DONNELLY, DONNELLYhad no affiliation with Fill-A-Buster Restaurant at 142 Bowdoin

   Street, and DONNELLY was completely unaware of the existence ofFILLABUSTER.

            33. Followingthe creation of the sham FILLABUSTER, MACKENZIE caused the

   Church to pay MACKENZIE, through FILLABUSTER, hundreds of thousands of dollars for

   minimal catering services. MACKENZIE, however, never disclosed to the Church his interestor

   relationship with FILLABUSTER. In addition, the Churchnever issued an IRS Form 1099­

   MISC10 to FILLABUSTER, which wouldhave notifiedthe IRS of FILLABUSTER's income

   derived from the Church. Through these devices,MACKENZIE was able to conceal from the

            Generally, the IRS requires corporations or other entities that have employees to have an EIN for tax
   withholding purposes on such employees.
   9        MACKENZIE introduced BURM to the Church, and BURM becamethe ChurchSecretary. In the Church
   check theft scheme 00 Section I1.B., infra) MACKENZIE used anotherbank account in TINA BURM's name to
   funnel stolenChurch proceeds.
   10       According to publicallyavailable IRS instructions forthe IRS Form I099-Misc: "Payments for which a
   Form I099·MISC is not required include[:] ... [g]enerally, payments to a corporation ... [and] tax-exempt trusts ..
   .." FILLABUSTER had an EIN, which signified that it was eithera corporation or an entitywithemployees.


                                                          -15­
Church and the IRS, thousands of dollars of proceeds to MACKENZIE, via FILLABUSTER, 11

as detailed in the approximate figures below:

                                  Year                         Church Payments to
                                                                FILLABUSTER
                                  2006                               $37,000
                                  2007                               $51,235
                                  2008                               $17,850
                                  2009                             $37,392.50
                                  2010                               $42,450
                                  2011                               $50,675
                ,-­      -   -,
                                  2012 - - - - - - - ­
                                  --~.-
                                                                    $80,373
                                                                        ..
                                                         c--------~----~~
                                                                            Ll
                                                                               .. - - - ­
                                  Total                           $316,975.50

        The ChurchGrandfather Clock

        34. In or about 2006 or 2007, MICHAEL TRAVERS, a contractor that was hired by the

Church to do wall removal and repair (see The Pipe Replacement. Boiler Replacement. and

Booster Pwnp Kickback Schemes, Section II.C., infra) noticed an old grandfather clock (the

"Clock") inside the Church. TRAVERS told MACKENZIE that TRAVERS thought that

TRAVERS's brother-in-law, ROBERT HYNES, who repaired and sold grandfather clocks,

would be interested in purchasing the Clock. MACKENZIE agreed to meet with HYNES.

        35. In an April 13, 2011 interview with the FBI, HYNES stated that in or about 2006 or

2007, HYNES called MACKENZIE to set up an appointment to see the Clock. At this meeting

with MACKENZIE at the Church, HYNES brought $1,500 in cash to purchase the Clock.

HYNES then stated that MACKENZIE offered the Clock for sale, MACKENZIE took the

$1,500 in cash from HYNES, and MACKENZIE helped HYNES load the clock into HYNES's

truck. According to HYNES, the entire transaction took about ten minutes. According to the




II       As detailed in Sections II.B. and II.C., MACKENZIE also used FILLABUSTER as a conduitforhis check­
theft and commercial kickback schemes involving the Church.
12       The 2012 total includes approximately $19,405 in payments from BVC to FILLABUSTER


                                                   -16­
 Church's By-Laws, MACKENZIE did not have unilateral authority to sell the Church's property,

 such as the Clock.


        B.     The Church Check Theft Scheme

        36. During the same period that MACKENZIE was collecting Churchpayments to

FILLABUSTER and cash kickbacks from RAFFOL on Church tuition grants, MACKENZIE and

KENNEDY conspiredto steal checks that were payable to the Church and/or BVC from third

parties. To further this scheme, in April 2006, KENNEDYcreated two sham bank. accounts­

one in the name of the Church,"Boston Society of the New Jerusalem, Inc.," with a Post Office

Box address in Boston at P.O. Box 961071 (the "Sham ChurchAccount") and one in the name of

BVC, "BVC Trust," (the "Sham BVC Account") - at Sovereign Bank.

        37. In order to concealand perpetuate the check theft scheme against the Church,

. KENNEDY also maintained signatory authority over the sham Church and BVC bank accounts

and opened each sham accountusing addressesthat were under KENNEDY's control. By

causing the Sham Church and Sham BVC Account statements to be mailed to KENNEDY,

MACKENZIE and KENNEDY prevented the actual Church and BVC from detecting their

scheme to divert Church and BVC checks.

        38. The stolen checks obtained by MACKENZIE included:

        a.   MZA Trust ("MZA") paymentsto BVC, which representedMZA payments to BVC
             for the long-term rental of parking spaces at the BOSTONVIEW APARTMENTS;

        b.   AXA EquitableLife Insurance Company ("AXA") annuity payments to the Church;
             and

        c.   payments to BVC by each of MICHAEL PERRY and PETER O'CONNELL,who
             were investors that were fraudulently led to believe (by MACKENZIE and
             KENNEDY) that such payments granted PERRY and O'CONNELL priorityrights
             to purchase the BOSTONVIEW APARTMENTS, when no such rights existed.



                                             -17­
            39. According to KENNEDY, once the stolen checks were deposited into the Sham

 Church and Sham BVC accounts, MACKENZIE and KENNEDY would then split the proceeds,

 and, at MACKENZIE's direction, KENNEDY would funnel MACKENZIE's approximately

 50% share through other shell companies and third party payments, among other means, on the

 approximate dates, as follows:

     Date          Stolen Check (Deposited into either Sham   Proceed Distribution via Sham Church and
                        Church or Sham BVe Accounts            BVClRUST Soverei Bank Accounts
 4/26/2006         MZA check a able to BVC for $34,000
 4/27/2006         AXA check payable to the Church for
1-----:---,-----   $53,565.46
 5/1/2006                                                     Sham BVC Account check for $11,224
                                                              payable to cash ($2,100 in cash to
                                                              MACKENZIE; $9,124 official check to
                                                              MACKENZIE's private attorneys (Looney
                                                              & Grossman
 5/2/2006                                                     Sham BVC Account check for $6,550
                                                              deposited in account of MACKENZIE
                                                              associate TTNA BURM
 5/5/2006                                                     Sham Church Account check to cash used
                                                              to purchase Official Check for $25,000
                                                              payable to COURMAC (MACKENZIE
                                                              shell enti
 9/1/2006
 9/7/2006




 4/8/2008

 4/14/2008

 5/20/2008

 5/22/2008


 6/20/2008

 6/24/2008                                                    Sham BVC Account checks: (i) $7,000
                                                              payable to FILLABUSTER; (ii) $3,000
                                                              payable to MACKENZIE's son, JUAN
                                                              FIGUEROA


                                                    -18­
   Date       Stolen Check (Deposited into either Sham   Proceed Distribution via Sham Church and.
                   Church or Sham BVe Accounts)            BVC tRUST Sovereign Bank Accounts ..
Totals        $168,169.74 in stolen checks               $81;274 distributed to MACKENZIE and
                                                         for MACKENZIE's benefit


         C.     The Church Commercial Kickback Schemes

         40. As noted above, once the Church's By-Laws were amended, MACKENZIE assumed

official authority with respect to any "changes to the physical plant of the BOSTONVIEW

APARTMENTS." With MACKENZIE in charge, those "changes" manifested themselves in

well over one million dollars in renovation and improvement costs to the BOSTONVIEW

APARTMENTS, as well as the Church, during the period from in or about 2006 to in or about

2012. It was at this time, that MACKENZIE effectively operated the Church as a business - a

business that reaped MACKENZIE hundreds of thousands of dollars in corrupt cash and other

kickbacks on such renovations, as follows:

         The Carpet Kickback Scheme

         41. In or about 2006, STEVEN BOURGOIN ("CARPET VENDOR"), an owner of a

small carpet flooring company called Low Overhead Discount Carpet, was introduced to

MACKENZIE by MARK PALLUCCIO, an associate of MACKENZIE's. According to the

CARPET VENDOR, PALLUCCIO informed the CARPET VENDOR that MACKENZIE could

assist the CARPET VENDOR in obtaining carpeting work at the Church, but that the CARPET

VENDOR would have to pay kickbacks to MACKENZIE in exchange for MACKENZIE's

assistance. The CARPET VENDOR agreed to this arrangement.

         42. Thereafter, from in or about September 2006 to in or about December 2011,

MACKENZIE used his influence and authority at the Church to assist the CARPET VENDOR in

obtaining approximately 44 carpet jobs at the Church and the BOSTONVIEW APARTMENTS



                                               -19­
in return for cash kickbacks from the CARPET VENDOR. According to the CARPET

VENDOR, the kickback arrangement with MACKENZIE typically occurred as follows:

       a.   MACKENZIE would direct the CARPET VENDOR to submit an inflated quote for
            a carpeting job to be performed either at the Church or BVC. For example, on one
            occasion in 2006, the CARPET VENDOR provided MACKENZIEan oral estimate
            of $18,000 for a carpet replacementjob, and in response to the quote, MACKENZIE
            stated, "Oh, you mean $28,0007" Through this and similarly coded communication,
            MACKENZIE communicatedto the CARPET VENDOR that MACKENZIE
            expected the CARPET VENDOR to pay MACKENZIE a kickback in the amount of
            approximately 25% to 33%13 of the total quote in order to receive the Church's
            carpeting business.

       b.   After the CARPET VENDOR was awarded the work and received an initial deposit
            payment from the Church or BVC, MACKENZIE would call the CARPET
            VENDOR and ask "Where's my paper work?" - which the CARPET VENDOR
            understood to be MACKENZIE's kickback demand. The CARPET VENDOR
            would then respond to MACKENZIE that the CARPET VENDORwould get
            MACKENZIE his "paperwork tomorrow," meaning that the CARPET VENDOR
            would deliver the cash kickback to MACKENZIE the next day. The following day,
            the CARPET VENDORwould deliver the cash kickback (in part or in full) by
            handing MACKENZIE an envelope containing cash either inside the Church or at
            the CARPET VENDOR's store in Quincy. On some occasions, the CARPET
            VENDOR would hand MACKENZIE's cash kickback to an intermediary, who was
            PALLUCCIO's sister, TINA BURM, another MACKENZIE associate.

       c.   In certain instances, MACKENZIE assisted the CARPET VENDOR in obtaining
            carpet replacement work at the Church that the CARPET VENDOR believed was
            unnecessary, In at least two instances, MACKENZIE assisted the CARPET
            VENDOR in receiving Church payments for carpeting work that was never
            performed at the Church. In almost every instance, the CARPET VENDOR paid a
            cash kickback to MACKENZIE on the money that the CARPET VENDOR received
            from the Church or BVC.

       43. According to the CARPET VENDOR, and after a review of the CARPET

VENDOR's business and bank records, at or about the following dates, the CARPET VENDOR

paid MACKENZIE the following cash kickbacks after being awarded (without any competitive

bidding process) the following Church and BVC carpetingjobs (amounts approximate):


IJ       According to the CARPET VENDOR, becausethe managing company reviewed the costsof carpeting
work at the BOSTONVIEW APARTMENTS, MACKENZIE and the CARPET VENDOR agreed that the cash kick
back on BVC carpeting jobs would only be approximately $150-$300 per apartment.


                                               -20­
                                 ..
 Job        Date      Location         'ChUrc~VC         Cash Kickbacks
Number                                . Check Payments   Paid to      .
                                        toCARPET .       MACKENZIE
                                       VENDOR
   1      9/5/2006    Church               $28,974           $10,000
  2      9/25/2006    Church                $5,759            $2,000
   3     10/1712006   Church                $1,595             $600
  4      10/3012006   Church               $16,905            $5,000
   5     11/25/2006   Church                $7,984            $2,500
   6     3/3112007    Church               $17,585            $6,000
  7      4/19/2007    Church               $23,660            $8,000
   8     5/2312007     BVC                 $40,000           $10,000
  9      7/1012007    Church                $6,292            $2,000
  10     111712007    Church                $1,595             $600
  11      11/712007   Church                $1,536             $600
  12     2/1912008    Church                $5,629            $2,000
  13     3/12/2008     BVC                 $24,761           $8,000
 14       4/312008    Church               $23,193            $7,000
 15      2110/2009    Church               $23,659            $8,000
 16       8/4/2009    Church                $7,770            $2,500
 17      11122/2010   Church                $2,644             $800
 18      11130/2010   Church               $19,559            $7,000
 19       2/2/2011     Bye                   $775              $150
 20      2/1512011     BVC                 $1,152              $150
 21      2/15/2011     BVC                  $1,659             $150
 22      2/17/2011     BVC                   $955              $150
 23      317/2011      BVC                 $1,659              $150
 24      317/2011      BVC                 $1,152              $150
 25      3/812011      BVC                 $1,324              $150
 26      3/28/2011    Church               $11,892           $5,000
 27      4/12/2011     BVC                 $2,042              $300
 28      4/26/2011     BVC                 $2,042              $150
 29      4/26/2011     BVC                   $872              $150
 30       5/3/2011     BVC                 $2,042              $300
 31       6/2/2011     BVC                 $2,042              $150
 32       6/2/2011     BVC                   $872              $150
 33      6/28/2011     BVC                 $6,647            $2,500
 34       7/8/2011     BVC                 $2,042              $150
 35       7/8/2011     BVC                   $872              $150
 36      7/1112011     BVC                   $872              $150
 37      711112011     BVC                 $2,042              $150
 38      7/20/2011     BVC                 $2,326              $300
 39      8/27/2011    Church                 $392              $100
 40      9/28/2011    Church               $14,585           $5,000
 41      10/4/2011    No work              $11,814            $5,900


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             Job          Date          Location      ChurchIBVC         Cash Kickbacks
            Number                                    Check Payments     Paid to
                                                      to CARPET          MACKENZIE
                                                      VENDOR
                                       performed
             42        10/6/2011         BVC                $2,656             $300
             43        12/3/2011        No work            $23,659            $12,000
                                       perfonned
          44           12/9/2011        Church             $1,284              $400
          45           1/6/2012          BVC               $7,809              $500
        TOTALS                                            $366,580           $117,450


       The Contractor KickbHCk Scheme

       44. LARRYREARDON (the "CONTRACTOR"), was an independent construction

contractor, who performed mostly residential and light commercial construction. In or about

2007, the CARPET VENDOR introduced the CONTRACTOR to MACKENZIE. Following this

introduction, from in or about2007 to in or about 2010, MACKENZIE used his influence and

authority within the Churchto assist the CONTRACTOR in obtaining constructionworkwith

the Church. In exchange for MACKENZIE's assistance, MACKENZIE collected thousands of

dollars in cash kickbacks from the CONTRACTOR.

       45. Accordingto the CONTRACTOR, the kickbackarrangement with MACKENZIE

generally occurred as follows:

       a.    MACKENZIE woulddirect the CONTRACTOR to submit a quote for construction
             work to be performed at the Church and/or the BOSTONVIEW APARTMENTS.
             After the CONTRACTOR submitted the job quote and receivedapproval from the
             Church, the Churchwould agree to pay the CONTRACTOR an initial installment or
             deposit check.

       b.    MACKENZIE would notify the CONTRACTOR in advance that the Church would
             be making a payment to the CONTRACTOR, and MACKENZIE would hand
             deliver suchcheckto the CONTRACTOR at the Church.

       c.    MACKENZIE would then tell the CONTRACTOR that MACKENZIE needed
             money and would request a dollar amount that MACKENZIE wanted the
             CONTRACTOR to pay MACKENZIE in cash.


                                             -22­
       d.   Either the same day or within a few days of receiving the Church payment, the
            CONTRACTOR would pay MACKENZIE in cash as per MACKENZIE's demands,
            and the CONTRACTOR would make a notation on the CONTRACTOR's
            corresponding invoice or payment stub.

       e.   For example, in 2007, MACKENZIE used his influence to get the CONTRACTOR
            an approximately $27,500 job to remodel an office within the Church, which was
            paid to the CONTRACTOR in three installments. At around each time that the
            Church paid an installment to the CONTRACTOR, MACKENZIE would demand
            and then receive a cash payment from the CONTRACTOR. With respect to the total
            cash payments that the CONTRACTOR paid to MACKENZIE on this
            approximately $27,500 job, the CONTRACTOR wrote notes on the fmal invoice in
            order to keep track of the CONTRACTOR's cash kickbacks to MACKENZIE, as
            follows:

                                    E-STOCK
                                    1,700- 5/26/07
                                    1,500 -7/15/07
                                    3,000 8/1107
                                     6200 owe me

       f.   Thus, for this $27,500 contracting job in 2007, MACKENZIE collected a total of
            $6,200 in cash kickbacks from the CONTRACTOR, which were all collected by
            MACKENZIE at the Church, according to the CONTRACTOR. To conceal these
            payments, the CONTRACTOR's handwritten notations referred to the
            MACKENZIE cash payments as "E-STOCK," or "estimated stock (supplies)," but in
            reality these payments were cash kickbacks, and not figures for estimated stock.

       46. In at least two instances in 20 I0, MACKENZIE used his influence at the Church to

assist the CONTRACTOR to obtain jobs that were paid for by the Church, but were performed at

MACKENZIE's and MACKENZIE's relatives' homes. For one job, the CONTRACTOR was

paid by the Church to perform repair work at the MACKENZIE RESIDENCE, as the result of a

broken fish tank - a tank which MACKENZIE had obtained through another kickback scheme

(detailed below). In another instance, the CONTRACTOR was paid by the Church to perform

construction work at the home of RONALD MACKENZIE and MARIA MACKENZIE,




                                            -23­
MACKENZIE's brother and sister-in-law.l" MACKENZIE collected a cash kickback of

approximately $1,500 from the CONTRACTOR for the work performed at MACKENZIE's

home.

        47. According to the CONTRACTOR, on or about March 5, 2010, MACKENZIE

directed the CONTRACTOR to cash a BVC check payable to the CONTRACTOR for $20,460

(for a $61,380 contract that the Church awarded.to the CONTRACTOR) and give MACKENZIE

$6,000 in cash. The CONTRACTOR cashed the check and handed $6,000 in cash to

MACKENZlE at the Rockland Trust Bank parking lot in Weymouth on or about the same date.

        48. In or about December 2010, after the CONTRACTOR received a BVC check for

$10,230 for the above-referenced $61,380 contract, MACKENZIE directed the CONTRACTOR

to pay MACKENZIE another $6,000 in cash. The CONTRACTOR withdrew $6,000 in cash

and met MACKENZIE inside the CONTRACTOR's car at a supermarket parking lot in

Weymouth. Inside the CONTRACTOR's car, however, the CONTRACTOR handed

MACKENZIE an envelope containing only $3,000 in cash. After counting the cash,

MACKENZIE yelled "What the fuck,' then stated that the money was a matter of life or death,

and jumped out of the car, slammed the door, and began banging on the hood of the

CONTRACTOR's car. When MACKENZIE re-entered the CONTRACTOR's car, the

CONTRACTOR handed MACKENZIE the additional $3,000 in cash, and MACKENZIE got

back in MACKENZIE's car and drove away.

        49. An approximate summary of MACKENZiE's total kickbacks from the

CONTRACTOR as per this scheme is as follows:



14       RONALD and MARIA MACKENZIE were marriedto each other, and both were voting Churchmembers.
RONALD waspaid by the Churchfor purported janitorial work,while MARIA heldofficial positions withinthe
Church, including the positionof Church President. In addition, theirson, RONALD MACKENZIE JR, received
Church tuitionbenefitsandjobs from Church contractors through MACKENZIE's influence.


                                                 -24­
               Job Description    Church/BVC       Church/BVC            .Cash Kickback Paid
                                  Payment Date     Check Payment to       to MACKENZIE (at
                                                   CONTRACTOR             Church unless *)
               Church Office       5/24/2007            $9,500                  $1,700
                 Remodel           7/30/2007            $9,000                  $1,500
                                   10/18/2007           $9,000                  $3,000

              Church Shower        11/13/2009            $4,975                  $800
                Installation
              WaterDamage           1/7/2010             $7,860                 $1,500
                     at
              MACKENZIE's
                   home
                                                                                 _____ 1'
              Waterproofing         4/7/2010             $4,860
                     at
              MACKENZIE's
              brother's home
                                                                                 _____ Ill
                  Church            1/21/2010            $20,460
                 Hallways           3/5/2010             $20,460                $6,000*
                                    12/7/2010            $10,230                $6,000*
                   Totals                                $96.345                $20,500


        The Painting Company Kickback Scheme

        50. MARIANNE BAKER(the "PAINTER") was a waitress, who knew MACKENZIE

for decades after being introduced to MACKENZIE through a mutual friend. JOHN BAKER,

the PAINTER's husband, was a restaurant manager (the "PAINTER's HUSBAND, together with

the PAINTER, the "PAINTERS"). MACKENZIE used his influence within the Churchto give

the PAINTERS Church membership, and assisted the PAINTERS in obtaining an approximately

$18,000 Church tuition grant for the PAINTERS's nephew to attend Suffolk University in or

about 2010.




          Although MACKENZIE allegedly did not collecta kickback on the Church-subsidized work at
MACKENZJ E's brother's home, the CONTRACTOR was never paid for the thousands of dollars of cost overruns
on thisjob.
16        The CONTRACTOR couldnot recall the specific details regarding cashpayments to MACKENZIE for
this particular check.


                                                  -25­
        51. In or about 2009, the PAINTER, the PAINTER's restaurant co-worker (Will

Rodrigues), and the co-worker's friend (Christopher Hebert) formed Metro City Painting

Services, Inc. (the "PAINT CO.") MACKENZIE then asked the PAINTER to submit a bid to

perform painting work at the Church and the BOSTONVIEW APARlMENTS despite the fact

that the PAINTERS had little or no previous experience in painting work.

       52. In an interview with FBI and IRS-Cm agents on or about Aprill, 2013, the

PAINTER stated that after the PAINT CO. received approval for its first painting job at the

BOSTONVIEW APARTMENTS (in approximately May 2009, according to WINN

MANAGEMENT records), MACKENZIE approached the PAINTER outside the Church and

stated to the PAINTER, in sum and substance: "You're approved, but to make this a done deal,

you gotta take care of me." At this time, the PAINTER understood MACKENZIE to be

demanding a cash kickback in return for MACKENZIE's assistance to the PAINTER in

obtaining painting work with the Church and the BOSTONVlEW APARTMENTS. 17

       53. In or about May 2009, MACKENZIE notified the PAINTER that MACKENZIE had

a check payable from BVC to the PAINT CO. When MACKENZIE handed the BVCcheck to

the PAINTER inside the Church, MACKENZIE told the PAINTER that MACKENZIE expected

a cash payment from the PAINTER in return. The PAINTER then had the PAINTER's

HUSBAND make a cash withdrawal from [either] the PAINT CO.'s bank account [or the

PAINTERS's' personal bank account,] and handed the cash to MACKENZIE.

       54. In one instance, in or about August 21, 2009, MACKENZIE assisted the PAINTER

in receiving a payment for a paint contract (to paint the Church function room) that the PAINT

CO. never performed. After the PAINTER received an approximately $6,560 BVC payment for

17
      The PAINTER knew of MACKENZIE's prior criminal association with James"Whitey" Bulger, and the
PAINTER's HUSBAND, like many otherswhom MACKENZIE had introduced to the Church, received from
MACKENZIE a signedcopy of MACKENZIE's autobiography, "Street Soldier," upon meeting MACKENZIE.


                                                -26­
this contract, MACKENZIE told the PAINTER to pay MACKENZIE approximately $5,000 in

cash for this contract, and that if the PAINT CO. had to paint the Church function room in the

future, MACKENZIE would reimburse the PAINTER later.

         55. From in or about May 2009 to in or about October 2009, MACKENZIE used his

influence and authority within the Church to assist the PAINT CO. in obtaining a total of

approximately $127,129 in painting contracts with the Church and the BOSTONVIEW

APARTMENTS. Based upon BVC and Church records, PAINT CO. and PAINTER bank

records, and statementsfrom the PAINTERS, the PAINTERS made the following approximate

cash withdrawals and check payments on the following approximate dates to MACKENZIE

during the period of the kickback scheme:

BVC Payment              Paint Contract            BVC             PAINT CD.            PAINT CD.
   Date                                         Payment to         Transaction             Cash
                                                PAINT CD.            Date(s)            WithdrawaV
                                                                                         Pa entll
     5/14/2009      Paint Bldg Stairwells          $6,840          5/12/2009 ­            $1,000
                    30% D[own]                                       check to
                                                                  MACKENZIE
     5/2812009      Paint Bldg Stairwells          $6,840
                    2nd3 rd
     6/12/2009      Paint Bldg Stairwells­         $9,120
                    Final
     6/25/2009      Paint Parking Garage­          $8,055
                    30% Down

     7/14/2009      Paint Parking Garage­          $6,712
                    25%U nCo
     7/14/2009      Paint Parking Garage­          $6,712
                    25% Upon
                    Co m letion
     7/1412009      Apply Neoprene                $11,125       7/16/2009 ­ cash           $7,350
                    Traffic Coatin                                 withdrawal
     7/23/2009      Paint Parking Garage           $5,370       7/22/2009 ­ cash            $600
                    Final Pa ent                                   withdrawal

II
        The processof obtaining and reviewing the total cash withdrawal histories for the PAINTERS's personal
bank accounts is ongoing. Shadedcell areassignifythat additional bankand financial records are required in order
to completethe data entry.                                                    .
19      FILLABUSTER bankrecords showed that this check payable to MACKENZIE was endorsed by
MACKENZIE andthen deposited into the FILLABUSTER bank account On or about June 26, 2009.


                                                     -27­
. BVe Payment           -. Paint Contract -_. -..... -.·,BVC,,,·... _.; ~PAJNT-.CU, .. -..PAIN-TCO .
     Date                                             Payment to         Transaction          Cash
                                                     PAINT CO.               Date(s)       WithdrawaV
                                                                                           Payment"
      7/30/2009     Garage Floor Payment                $11,125          7/27/2009-           $320
                    #2 Ramps                                                check to
                                                                       MACKENZIE
       8/412009     Traffic Coating                     $11,000      8/1/2009- check          $400
                    Basement Level                                   to MACKENZIE
      8/14/2009     Paint Church                        $4,030       8/18/2009 - cash        $1,400
                    hallways/office #1                                    withdrawal
      8/15/2009     Church paintingjob                  $2,640            8/19/2009­         $1,500
                                                                     8/21/2009- cash
                                                                         withdrawals
      8/21/2009     Paint Church function               $6,560           8120/2009 ­          $600
                    room                                                    check to
                                                                       MACKENZIE
      9/3/2009      Paint Church                        $3,100      8/26/2009- cash          $4,200
                    hallways/office #2                                   withdrawal
      9/912009      Church facade                      $10,360             9/8/2009­         $1,000
                    painting/updating                               9/14/2009­ cash
e-.                                                                     withdrawals
      9/11/2009     Paint Church                        $2,000      9/14/2009- cash          $5,500
                    hallwaysloffice #3                                   withdrawal
      9/29/2009     Church facade                      $10,360          9/30/2009 -           $400
                    painting/updating                                      check to
                                                                       MACKENZIE
      10/13/2009    Church facade                       $5,180           10/15/2009­         $1,100
                    painting/updating                                   I 0/1912009 ­
                                                                    cash withdrawals
      TOTALS                                          $127,129                              $24,370


           The Pipe Replacement, Boiler Replacement, and Booster Pump Kickback Schemes

           56. From in or about 2007 to in or about 2011, major renovations were done at the

 BOSTONVIEW APARTMENTS. As the Director of Operations, MACKENZIE exercised

 influence and authority with respect to choosing the vendors that were to pcrfonn each of the

 renovations. For each renovation project, MACKENZIE collected thousands of dollars in cash

 kickbacks from the vendors. The renovations, vendors, principals, and approximate dates are as

 follows:

       . Dates               Project                        Vendor                          Principals .



                                                     -28­
                                                                   ..                          _   ..

    Dates               Project                  Vendor •                     Principals
  2006-2007       Pipe Replacement       ASAP PLUMBING AND                THOMAS DEROSA
                                         HEATING
     2007         Pipe Replacement       NIGHTINGALE                      MICHAEL TRAVERS
                                         CONSTRUCTION CO. INC.
  2010-2011       Boiler Replacement     SUPERIOR PLUMBING                WILLIAM LANE
                                         INC.                             DAVID DOHERTY
     2011         Booster Pump           SUPERIOR PLUMBING                WILLIAM LANE
                  Installation           INC.                             DAVID DOHERTY


       Pipe Replacement Project

       57. In or about 2006, the Church decided to replace all of the hot water pipes in the

BOSTONVIEW APARTMENTS. In or about late 2006 to early 2007, WINN MANAGEMENT

(the managing company for the BOSTONVIEW APARTMENTS at that time) assisted the

Church with the bidding process and ultimately awarded Superior Plumbing Inc. ("SUPERIOR

PLUMBING") the contract to replace the hot water pipes. WINN MANAGEMENT was

familiar with SUPERIOR PLUMBING because SUPERIOR PLUMBING had worked in other

properties managed by WINN MANAGEMENT. WILLIAM LANE was the owner of

SUPERIOR PLUMBING, and DAVID DOHERTY was the foreman at SUPERIOR

PLUMBING, who oversaw the pipe replacement work performed at the BOSTONVIEW

APARTMENTS.

       58. THOMAS DEROSA was a self-employed plumber (the "PLUMBER"), who did

business as ASAP Plumbing and Heating ("ASAP PLUMBING") and mostly worked on small

residential plumbing projects. In or about 2006, DOUG HANSON, the Church Treasurer and a

MACKENZIE associate, introduced the PLUMBER to MACKENZIE. Following this

introduction, the PLUMBER was appointed to be the overseer for the entire pipe replacement

project despite the fact that the PLUMBER had neither the experience nor expertise to supervise

such a project. In addition, the Church and BVC began paying the PLUMBER thousands of


                                              -29­
dollars before the pipe replacement work even commenced. Once the pipe replacement work

commenced, the PLUMBER showed up less and less frequently to the jobsite, and during the

latter stages of the project when the PLUMBER was present, the PLUMBER's sole contribution

to the project was providing soft drinks to the laborers, according to SUPERIOR PLUMBING's

foreman, DAVID DOHERTY.

       59. On or about December 4,2012, the PLUMBER testified before a Federal Grand Jury

in Boston (the "Grand Jury"). During the PLUMBER's testimony, the PLUMBER stated that:

       a.   After the Church began paying the PLUMBER in or about 2006, MACKENZIE
            began to meet regularly with the PLUMBER, and that the nature of such meetings
            was "basically I was going to give him [MACKENZIE] money for getting the job."

       b.   "[W]hen I started getting my biweekly checks, I would cash-you know, deposit it,
            deposit it in my account, the ASAP [Plumbing] account; and I don't know, maybe
            whatever, two days, whatever it was, I would - I would either go in and meet him in
            the - in the [Church] kitchen or in his [Church] office for, you know, just one of
            those two places .... I would just give him some money .... Sometimes I put it in an
            envelope, ifI got it from the bank; or sometimes I would just hand it to him in cash."

       60. A review of Church and BVC payments to the PLUMBER and the PLUMBER's

bank records revealed the following payments and transactions (on the approximate dates),

which corroborated the PLUMBER's cash kickbacks paid to MACKENZIE pursuant to this

scheme:

    Payment Date        Churcb/BVC Payment             Cash Withdrawal       Cash Withdrawal
                           to PLUMBER                        Date(s)             Amount
      7/28/2006                $5,000                       8/2/2006             $3,500
      8/18/2006                $5,000                      8/23/2006             $3,500
      12/8/2006               $15,000                     12/22/2006             $6,000
       2/7/2007                $9,600                No deposit record for
                                                             $9,600
      6/1/2007                   $6,000                     6/6/2007               $1,500
       7/6/2007                 $13,526                    7/10/2007               $3,600
      7/20/2007                 $13,526                    7/24/2007               $3,500
       8/3/2007                 $13,526               8/3/2007,8/13/2007           $3,500
      8/20/2007                 $13,526                    8/22/2001               $3,500
      8/31/2007                 $13,526                     9/4/2007               $3,500


                                              -30­
    Payment Date        Church/BVC Payment          Cash Withdrawal        Cash Withdrawal
                           toPLUM8ER                    Daters).               Amount
     9/18/2007                $13,526                 9/1812007                 $3,500
     9/28/2007                $13,526                  10/3/2007                $3,500
     10112/2007               $13,526                 10116/2007                $3,500
       Totals                $148,808                                         .$42,600


       61. In order to replace and repair the hot water pipes at the BOSTONVIEW

APARTMENTS, it was necessary to hire a contractor that would open the apartment walls and

then repair the walls once the pipes were replaced. In or about 2007, RAFFOL (the WINN

MANAGEMENT executive who had paid tuition grant kickbacks to MACKENZIE) contacted

MICHAEL TRA VERS ("WALL VENDOR"), who owned a small contracting company called

Nightingale Construction Co. Inc. (''NIGHTINGALE''), about this job.

       62. On December 18,2012, the WALL VENDOR told the Grand Jury that in or about

2007, RAFFOL called the WALL VENDOR and stated, "You can have the job; the numbers will

work. But you have to - have to pay. The Board wants money back." At this time, RAFFOL

did not tell the WALL VENDOR who was to receive the money, but stated that the WALL

VENDOR had to pay "[tjwenty-four grand." The WALL VENDOR agreed to make this

payment, and then, with RAFFOL's approval, inflated the contract bid to the Church up to an

amount of approximately $330,000 to account for this $24,000 payment.

       63. In or about 2007, at a pre-construction meeting attended by the WALL VENDOR,

RAFFOL,MACKENZIE and the other contractors on the job, RAFFOL instructed the WALL

VENDOR that "[MACKENZIE] ... that's the guy you're, you know, you'll be dealing with[,]"

meaning that the WALL VENDOR was to pay MACKENZIE the $24.000 kickback payment

that RAFFOL had previously discussed with the WALL VENDOR.




                                             -31­
       64. According to the WALL VENDORin an interviewwith the FBI on AprilS, 2011, in

or about 2007, after the WALL VENDOR began doing work at the BOSTONVIEW

APARTMENTS, RAFFOL called the WALL VENDOR and stated, in sum and substance,

"You've got to pay Ed." Shortlythereafter, MACKENZIE approached the WALL VENDOR at

the job site and told the WALL VENDOR that the Church was currentlyprocessing the WALL

VENDOR's next payment. After the WALL VENDORreceiveda $20,000 paymentfrom BVC,

the WALL VENDOR withdrew$2,500 in cash on August3, 2007 and $4,000in cash on

September 18, 2007. At or aboutthe time of these withdrawal dates, the WALL VENDOR then

met MACKENZIE at the Church and paid MACKENZIE a total of approximately $5,500 in cash

from these funds. The WALL VENDOR described one such payment for the Grand Jury:

       a.   "I went over to his [Church] office, which the buildings are connected, sojust
            walked through the buildingand met him in the kitchen. ... I put the money in ­
            under a magazineand said, 'Here, you know, there you go.' And that's when he
            [MACKENZIE] said about divvying it up with everybody. He said he had to divvy
            it up with the Board or the boys...." The WALL VENDOR was unaware if
            MACKENZIE had, in fact, distributed the cash kickbackto anyoneother than
            MACKENZIE.

       65. The WALL VENDOR, however, told RAFFOL that the WALLVENDOR was

uncomfortable making these cash payments to MACKENZIE and preferredto make these

payments with a check. After this conversation, RAFFOL instructedthe WALL VENDOR to

make check payments to FILLABUSTER, which was MACKENZIE's shell company (see

Section I, above). According to the WALL VENDOR's testimony and bank records, the WALL

VENDOR made the following kickbackpayments to MACKENZIE during the course of this

scheme(on the approximate dates for the approximate amounts):

                 Date           WALL VENDOR Kickback                 Amount
                                     to MACKENZIE
               8/3/2007         Two cash withdrawalsmade
                                                                     $5,500
              9/18/2007        to make a single cash payment


                                            -32­
                                                                      .,
                     Date             WALL VENDOR Kickback                 , Amount
                                        , to MACKENZIE
                                          to MACKENZIE
                  10/24/2007          NIGHTINGALE check to                   $8,500
                                          FILLABUSTER
                   121712007          NIGHTINGALE check to                   $5,000
                                          FILLABUSTER
                  12117/2007          NIGHTINGALE check to                   $5,000
                                          FILLABUSTER
                     Total                                                  $24,000


           The Boiler Replacement and Booster Pump Installation Projects

           66. After SUPERIOR PLUMBING completed the BOSTONVIEW APARTMENTS

pipe replacement project, in or about 2010, DAVID DOHERTY, the SUPERIOR PLUMBING

job foreman ("FOREMAN"), contacted PATRICK ANDERSEN, a BOSTONVIEW

APARTMENTS maintenance worker (the "MAINTENANCE WORKER"), and asked the

MAINTENANCE WORKER if the BOSTONVIEW APARTMENTS needed to replace their

boilers.

           67. In his December 11,2012 testimony before the Grand Jury, the FOREMAN stated

that in or about 2010:

           a.   The MAINTENANCE WORKER responded "[L]ook, I'm just the maintenance guy.
                If - you have to go talk to Eddie [MACKENZIE] with that, he's the director of
                operations...."

           b.   Following his conversation with the MAINTENANCE WORKER, the FOREMAN
                met with MACKENZIE inside the Church offices. After the FOREMAN proposed
                the boiler project to MACKENZIE, MACKENZIE told the FOREMAN that
                "[T]hat's [MACKENZIE's] job, that he, you know, he's in charge of director of
                operations .... so he would definitely talk to the people [other Church Trustees or
                officials] about it, and that, yeah, he was the right person."

           c.   Then, MACKENZIE led the FOREMAN outside to a back alley near the Church and
                MACKENZIE told the FOREMAN that "when the work goes on in the church that
                [MACKENZIE] gets ten percent of it."




                                                 -33­
       d.   MACKENZIE then instructed the FOREMAN that "you'll have to talk to your boss
            about it and get back to me[,]" and that the FOREMAN was to serve as a middleman
            for the kickbacks paid to MACKENZIE from the owner of SUPERIOR PLUMBING
            (WILLIAM LANE).

       e.   MACKENZIE also agreed to pay the FOREMAN a percentage of the kickback for
            acting as the middleman between MACKENZIE and the WILLIAM LANE.

       68. During interviews with FBI and IRS-Cm special agents on July 17, 2012 and July

19,2012, the FOREMAN stated that, as part of the scheme, MACKENZIE did not want to

discuss the boiler project over the telephone with the FOREMAN. Instead, MACKENZIE

instructed the FOREMAN that whenever the FOREMAN wanted to discuss the boiler project;

the FOREMAN was to say "Ed, let's go get a coffee," which would signal to MACKENZIE that

the two were to meet in person at or near the Church.

       69. After the FOREMAN's meeting with MACKENZIE, the FOREMAN met with

WILLIAM LANE, the owner of SUPERIOR PLUMBING (the "COMPANY OWNER"), and

told the COMPANY OWNER that SUPERIOR PLUMBING would receive the contract to

install boilers at the BOSTONVIEW APARTMENTS, if the COMPANY OWNER agreed to

pay a ten percent kickback to MACKENZIE.

       70. On December 18,2012, the COMPANY OWNER stated to the Grand Jury that, after

the FOREMAN broached the BOSTONVIEW APARTMENTS boiler project to the COMPANY

OWNER, the COMPANY OWNER ultimately "agreed that [the COMPANY OWNER] would

go back and do the project and pay ten percent to Ed MacKenzie." The COMPANY OWNER

then, in or about December 2010, submitted to the Church, via electronic mail, an inflated bid to

install boilers at the BOSTONVIEW APARTMENTS for approximately $274,000, which

included an approximately $27,400 kickback that was to be paid to MACKENZIE.




                                              -34­
        71. After the COMPANY OWNER received an initial payment from the Church on the

boiler project, the FOREMAN told the Grand Jury that, in or about December 2010, the

FOREMAN met the COMPANY OWNER in a parking lot in Weymouth off of Route 18, where

the COMPANY OWNER handed the FOREMAN an envelope containing approximately

$17,000 in cash. Later, that same date, the FOREMAN met with MACKENZIE at a Dunkin

Donuts parking lot in Weymouth, where MACKENZIE told the FOREMAN "[Y]ou can take

your portion and give the rest to the woman in the car, the girl in the car." The FOREMAN then

informed the Grand Jury: "So I walked out, I took out my money [approximately $3,200], and I

gave her the money in the car.,,20 The FOREMAN only knew the girl in the car to be a girlfriend

of MACKENZIE's.

        72. In or about 2011, prior to the boilers being installed, the FOREMAN proposed

another project to MACKENZIE, which was an approximately $94,775 bid to install a new water

booster pump at the BOSTONVIEW APARTMENTS. Similar to the boiler project: (i)

MACKENZIE agreed to use his influence to assist SUPERIOR PLUMBING in obtaining the

project, but expected a ten percent cash kickback on the booster pump contract; (ii) the

COMPANY OWNER agreed to pay MACKENZIE, through the FOREMAN, a cash kickback of

ten percent in return for MACKENZIE's assistance in obtaining the booster pump contract; and

(iii) in or about August 2011, the COMPANY OWNER submitted an inflated bid, via electronic

mail, to the BOSTONVIEW OFFICE and to MACKENZIE's electronic mail address.

        73. In or about August 2011, after BVC made an initial payment of approximately

$33,000 to SUPERIOR PLUMBING for the booster pump, the COMPANY OWNER stated to


20
         The FOREMAN also informed the Grand Jury that MACKENZIE was upsetthat the COMPANY OWNER
did not pay the full approximately $27,400 kickback, but ratheronly $17,000 in December2010. To appease
MACKENZIE, about a week afterthe $17,000 cash payment, the FOREMAN paid MACKENZIE back
approximately $2,700 in cash of the $3,200 middleman fee that the FOREMAN originally collected.


                                                 -35­
the Grand Jury that the COMPANY OWNER met the FOREMAN in "an empty lot in

Weymouth," where the COMPANY OWNER handed the FOREMAN approximately $9,400 in

cash, which represented the ten percent kickback to be paid to MACKENZIE on the booster

pump contract.

       74. After the FOREMAN received the approximately $9,400 in cash from the

COMPANY OWNER, the FOREMAN told the Grand Jury that: "I got the money and then ...

the next day 1 had to meet [MACKENZIE] up at the church." The FOREMAN then stated that,

inside the Church kitchen, he handed MACKENZIE an envelope containing the approximately

$9,400 cash kickback from the COMPANY OWNER. MACKENZIE then gave the FOREMAN

approximately $1,000 in cash as the FOREMAN's share for acting as MACKENZIE's

middleman.

       75. In or about October/November 2011, MACKENZIE continued to pressure the

FOREMAN to obtain the final approximately $10,000 kickback owed to MACKENZIE by the

COMPANY OWNER on the boiler contract. In statements to the Grand Jury and law

enforcement, the FOREMAN recounted that after BVC made a final payment on the boiler

project to SUPERIOR PLUMBING in late 2011, the COMPANY OWNER gave the FOREMAN

approximately $10,000 in cash in an envelope. The FOREMAN then took this cash and gave it

to MACKENZIE at the Church's offices. As compensation for acting as MACKENZIE's

middleman, MACKENZIE handed the FOREMAN back approximately $3,700 in cash ($1,000

for this delivery, and $2,700 returned from the earlier middleman fee that MACKENZIE took

from the FOREMAN). A summary of the approximate dates and amounts of the cash kickback

payments to MACKENZIE on the boiler and booster pump schemes is as follows:

       Dates         Project        MACKENZIE          FOREMAN's        MACKENZIE
                                     kickback             share         . net kickback.
     Dec. 2010       Boilers          $17,000            $3.200             $13.800


                                            -36­
        Dates          Project          MACKENZIE            FOREMAN's          MACKENZIE
                                         kickback                share          net kickback
     Aug. 2011      Booster Pump          S9,400                SI,OOO             S8,400
     Oct-Nov,         Boilers             $10,000               $1,000             S9,000
       2011
      Totals                               $36,400              $5,200            $31,200 11


        The Fish Aquarium Kickback Scheme

        76. In or about 2005, MACKENZIE went to Lovely Pets, Inc. (the "AQUARIUM

STORE"), a store in Quincy that sold fish tank aquariums, fish, and provided aquarium supplies

and maintenance services. STEPHEN RICHMOND was the owner of the AQUARIUM STORE

("AQUARIUM OWNER"). During this initial meeting, MACKENZIE told the AQUARIUM

OWNER that MACKENZIE was interested in purchasing an aquarium for the second floor of

the Church.

        77. Following this initial meeting, MACKENZIE used his influence and authority to

cause the Church and BVC to purchase from the AQUARIUM STORE one fish aquarium for the

second floor of the Church and one fish aquarium for the BOSTONVIEW APARTMENTS

lobby. The fish tank aquariums, fish, supplies, and maintenance services (initially,

approximately $400-$500 per month) cost the Church thousands of dollars each year. According

to the AQUARIUM OWNER's statements to FBI and IRS agents on December 12, 2012,

MACKENZIE made all decisions regarding the aquariums (e.g., the choice oftank size, the fish,

and tank accessories), and MACKENZIE told the AQUARIUM OWNER on several occasions

that "I'm the boss."

21
        The FOREMAN also told the GrandJury that in late 2011, the FOREMAN obtained work as an
independentsub-contractor to renovate the second floor bathroomsat the BOSTONVIEW APARTMENTS at a cost
ofapproximately SIO,500. The FOREMAN was only paid approximately $7,500 from BYCthrough thecontractor,
JOlIN O'DRIEN (a DYCcarpenter). Promthis $7,500, the FOREMAN paid MACKENZIE an approximately
$1,000 cash kickback. MACKENZIE accepted the $1,000 cash kickback, but intimatedthatthis cash payment
should have gone to MICHAEL SNEDEKER (another MACKENZIE associate and BYC employee), who had
arranged for the Church bathroom renovation. (MlCHAEL's father, JACKSNEDECKER, was another
MACKENZIE associate at the Church.)


                                                -37­
       78. In or about 2007, after the Church purchased the first two aquariums for

approximately $7,162 and $5,550, respectively, MACKENZIE regularly told the AQUARIUM

owner that MACKENZIE planned on having a fish aquarium installed in his new house, the

MACKENZIE RESIDENCE, in Weymouth. At around the same time, MACKENZIE also

proposed to install a third fish aquarium (the "Third Fish Tank") inside the Church Reverend's

office. Prior to in or about March 2007, according to the AQUARIUM OWNER, MACKENZIE

directed the AQUARIUM OWNER to bill BVC in advance for the Third Fish Tank.

       79. In or about March 2007, after BVC mailed a check for approximately $5,177 to the

AQUARIUM OWNER for the Third Fish Tank, MACKENZIE: (i) directed the AQUARIUM

OWNER to install the Third Fish Tank at the MACKENZIE RESIDENCE, instead of the

Church; and (ii) told the AQUARIUM OWNER that when it came time to install the actual third

Church fish tank at the Church (the "Fourth Fish Tank"), MACKENZIE would pay for the

Fourth Fish Tank himself.

       80. In or about 2007, the AQUARIUM OWNER made preparations to install the Fourth

Fish Tank at the Church. According to the AQUARIUM OWNER, in a meeting at the

AQUARIUM STORE, MACKENZIE stated to the AQUARIUM OWNER, "I wish somehow we

could bill this (meaning the Fourth Fish Tank) to the church[,]" instead of having MACKENZIE

pay for it as MACKENZIE originally proposed. The AQUARIUM OWNER replied, "I gotcha,"

with the understanding that MACKENZIE was not going to pay for any ofthe costs of the

Fourth Fish Tank.

       81. According to the AQUARIUM OWNER: (i) MACKENZIE never paid for the Third

Fish Tank at the MACKENZIE RESIDENCE, or for the monthly maintenance that the

AQUARIUM STORE provided for the Third Fish Tank; (ii) MACKENZIE never paid for the




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Fourth Fish Tank. after the Fourth Fish Tank was installed at the Church; and (iii) the

AQUARIUM OWNER understood that if the AQUARIUM OWNER wanted to maintain the

lucrative aquarium business with the Church, the' AQUARIDM OWNER could not charge

MACKENZIE for any of the costs associated with the Third Fish Tank.

        82. In his January 22, 2013 testimony to the Grand Jury, the AQUARIUM OWNER

admitted that to recoup the costs to the AQUARIUM OWNER for the Third Fish Tank (at the

MACKENZIE RESIDENCE), including free fish and free tank service and maintenance for the

Third Fish Tank, the AQUARIUM "over billed and padded the bill" with respect to tank. service

and maintenance invoices charged to the Church from in or about 2007 to in or about 2011. A

summary chart of MACKENZIE's fish tank kickback scheme is as follows:

Fish Tank    Appx. Date       Location of Tank           Payor                Tank          Appx. Monthly
   No.        Installed                                                       Cost           Maintenance
                                                                                             Cost through
                                                                                                2011
    1          8/2005        Church 20 0 Floor            BVC                $7,162             $300
    2          1112005      Bostonview Lobby              BVC                $5,550             $300
    3          3/2007        MACKENZIE                    BVC                $5,177           $100-150
                              RESIDENCE
    4          7/2007       Church Rev. Office     The Aquarium Owner did not charze the Cbureh ror the Fourth
                                                   Flsh Tank because the Cbureh had already paid 55,177 ror It In
                                                   March 2007. Instead, to reeoup the eosls for the "free" Third
                                                   Fisb Tank that MACKENZIE had received, the AQUARIUM
                                                   OWNER lIadded certain tank maintenance bills to the Chureh,




        D,     Tax Offenses

        83. There also is probable cause to believe that MACKENZIE violated Title 26, United

States Code, Section 7206(1) by willfully making and subscribing to false tax returns with

respect to the 2007, 2008, 2009, 2010, and 2011 tax years. According to an IRS-CID agent who

is investigating this matter, the IRS has retrieved records pertaining to MACKENZIE's 2007,

2008,2009,2010, and 2011 Form 1040 U.S. Individual Tax Returns that MACKENZIE filed.

MACKENZIE has made and subscribed to the Form 1040 returns. A reading of the 2007, 2008,


                                               -39­
     2009, 2010, and 2011 returns reveals that they were subscribed to under penalties of perjury and

     certify that the responses on the returns were true, completeand eccurate.f MACKENZIE's

     returns and return information reveal the following relevantentries relating to incomefor tax

     years 2007, 2008,2009,2010, and 2011.


ITEM                    TAX YEAR        TAX YEAR           TAX YEAR            TAXYEAR            TAXYEAR
                        2007            2008               2009                2010               2011
Wages                   $104,832        $107,374           $132,500            $106,500           $118,650
Business Income         0               $135               -$21,581            $1,559             $6,046
Other Income
Total Reported
                        $9,339
                        $114,171
                                        °
                                        S107,509
                                                           $3,000
                                                           $113,919
                                                                               0
                                                                               $108,059
                                                                                                  $12,786
                                                                                                  $137,482
Income
Total Unreported        S147,412        $65,850            577,562             $77,550            583,293
Income from
Corrupt
PaymentslBenefits
Total Approximate
Unreported Income                                                 5451,667
from 2007-2011



               84. A review of these returns and return information reveals that the "Wages" amount

     were the wages that the MACKENZIE received from the Church. The "BusinessIncome"

     amount refers to income listedon Schedule C to suchreturns that MACKENZIE attributed to:

     (i) in 2008, "ed Mackenzie JR DBA elm," involved in "R/e consulting," with a businessaddress

     at the Church; (ii) in 2009, "ed mack JR DBA EIMIR," involved in the business of"R/e

     Consulting + Aid, "with the business address at the Church; (iii) in 2010, a company called

     "MACKENZIE CONSTRUCTI[ON]," with no businessaddress; and (iv) in 2011, an IRS Form

     1099-MISC that was issued by the BOSTONVIEW APARTMENTS to MACKENZIE for


     22      The tax return forthe year2010 waselectronically filed. However, MACKENZIE signed an IRS Form
     8879, which attested to the veracity of the 2010 return underthe penalties ofpeJjury.


                                                      -40­
$8,500, which MACKENZIE categorized as "All other professional, scientific, & technical

services," without listing any business name on the IRS Form 1099-MISC. The "Other Income"

refers to: (i) in 2007, $9,339 in income reported on an IRS Form 1099; (ii) in 2009, $3,000 in

"Gambling wins;" and (iii) in 2011, $12,786 in income reported on a handwritten IRS Form

1099-MISC, purportedly issued from the Church to MACKENZIE. A review of this information

reported by MACKENZIE reveals no entry for the amounts of money that MACKENZIE

received, directly and indirectly, from MACKENZIE's involvement in the corrupt schemes

described above. Moreover, there are no entries that account for the total payments and/or funds

diverted to FILLABUSTER and COURMAC on MACKENZIE's tax returns. Accordingly,

there is probable cause to believe that MACKENZIE made, subscribed to and filed false federal

individual tax returns for tax years 2007, 2008, 2009, 2010, and 2011.

       E.      Narcotics Trafficking

       85. There is probable cause to believe that MACKENZIE violated Title 21, United States

Code, Section 841 by selling illegal drugs. From February 11,2013 through February 14,2013,

special agents with the U.S. Drug Enforcement Administration (the "DEA Agents")

communicated telephonically and in-person with a registered DEA confidential source (the

"CS"), who has provided reliable and corroborated information in the past to the DEA Agents.

The DEA Agents were neither involved in, nor cognizant of, the facts underlying the instant

investigation of MACKENZIE or the Church prior to being contacted by the CS in this matter.

During the initial communication between the CS and the DEA Agents, the CS volunteered that

the CS had information regarding MACKENZIE's ongoing sale of narcotics, specifically,

oxycodone.

       86. During conversations with the DEA Agents, the CS disclosed, in sum and substance:




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       a.   MACKENZIE was involved in the distribution of multi-hundred pill lots of
            oxycodone in the Boston area;

       b.   Oxycodone pills were purchased for $10-$20 per pill and sold at $30 per pill, with
            MACKENZIE usually purchasing $10,000 lots of oxycodone pills for distribution;

       c.   MACKENZIE provided oxycodone pills to MACKENZIE's girlfriend, who resided
            at the MACKENZIE RESIDENCE;

       d.   MACKENZIE disclosed that MACKENZIE had access to a safe at the Church,
            which MACKENZIE used for the storage of oxycodone pills.

       87. During their conversations with the CS, the DEA Agents were able to corroborate

certain details of the CS's account, including the CS's knowledge of: (i) MACKENZIE's current

cellular telephone number; (ii) the make and model of MACKENZIE's current vehicle; (iii) the

identity of MACKENZIE's current girlfriend; and (iv) the current locations ofMACKENZIE's

residence in Weymouth and business address at the Church.

       88. During a December 12,2012 interview with the FBI, the AQUARIUM OWNER

stated that a former AQUARIUM COMPANY employee, JOHN SOUTHERN, had replaced the

AQUARIUM OWNER as the maintenance and service provider for the Church, the

BOSTONVIEW APARTMENTS, and the MACKENZIE RESIDENCE fish tank aquariums by

in or about early 2012. Prior to replacing the AQUARIUM OWNER, SOUTHERN had

disclosed to the AQUARIUM OWNER that: (i) SOUTHERN had grown close to MACKENZIE;

(ii) SOUTHERN was aware that MACKENZIE's cars were purchased by the Church; and (iii)

SOUTHERN was familiar with MACKENZIE's girlfriends. More significantly, SOUTHERN

had confided to the AQUARIUM OWNER that, through SOUTHERN's close relationship with

MACKENZIE, SOUTHERN was aware that MACKENZIE was involved in dealing drugs.

       89. On or about March 8, 2013,.the DEA Agents obtained prescription pill records for

MACKENZIE. Those prescription records showed that from the period from May 26, 2012 to




                                             -42­
February 22,2013, MACKENZIE had received controlled substances that included

approximately 1,110 pills of oxycodone and 990 pills of clonazepam, which were both in

amounts that exceeded the prescribed dosages (listed on the prescriptions themselves) for such

drugs for such time period.

       F.      Obstruction of Justice

       90. In testimony before the Grand Jury on January 22,2013, the CONTRACTOR stated

that in or about October or November 2012, after the CONTRACTOR had been contacted by the

FBI, the CONTRACTOR mistakenly dialed MACKENZIE's phone number on the

CONTRACTOR's cellular phone. During the brief conversation that ensued, MACKENZIE

threatened the CONTRACTOR by stating to the CONTRACTOR, in sum and substance:

"Mother fucker, I'm your worst nightmare. Mother[fucker], you're going to fucking die." When

the CONTRACTOR asked MACKENZIE to identify himself over the phone, MACKENZIE

responded: "[Hey], Larry. How you doing? No matter what happens, I still love you. How's the

wife and kids?"

       91. In or about February 2013, the FBI contacted the Church's Treasurer, SUSANl\T£

ROGERS. ROGERS disclosed to the FBI that, at the Church, on or about February 13,2013,

MACKENZIE had asked ROGERS to create IRS Form 109~ records for FILLABUSTER for the

past three years. ROGERS did not understand why MACKENZIE was requesting her to create

such records. ROGERS asked MACKENZIE why MACKENZIE was seeking the production of

those records and MACKENZIE became flustered and left ROGERS's office.

       92. Shortly after this meeting, JACK SNEDECKER, a MACKENZIE associate and the

Church's Interim Chief Financial Officer, reminded ROGERS that ROGERS's term as Treasurer

(a salaried position) was about to expire, and that if ROGERS hoped to be re-elected to another




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term as Treasurer, ROGERS needed to "start lobbying" other Trustees for her re-election.

SNEDEKERalso added that he would "even talk to Eddie [MACKENZIE]."



III. SEARCH LOCATIONS AND MATERIALS SOUGHT

        93. In light of the conduct outlined above, I submit that there is probable cause to believe

that the specified federal offenses have been committed. I therefore seek search warrants for (A)

the CHURCH, (B) the BOSTONVIEW OFFICE, and (C) the MACKENZIE RESIDENCE. I

submit that there is probable cause to believe that evidence, fruits and instrumentalities of the

specified federal offenses are at the subject locations.

        A. THE CHURCH

        94. The records and items sought from the CHURCH are more particularly described as

the evidence, fruits and instrumentalities of the specified federal offenses, to include:

       a. Documents, records, correspondence, contracts and agreements, personnel files, bid
proposals, job specifications, invoices and bills, budgets, ledgers, accounting records, tax
records, tax forms, tuition payment and tuition grant records, memoranda, notes, e-mails,
telephone messages, diary and calendar entries, board minutes, trustee minutes, council minutes,
by-laws, charters, certificates of incorporation, membership rolls, membership records and other
information, from January 1,2002 to the present, pertaining to the following:




                               (continued on following page.)




                                                -44­
            ·Individuals                                     Entities
                                                    a.    Fillabuster Catering Trust
a. Edward J. Mackenzie, Jr.                         b.    Fillabusta Food Service
b. Courtney Mackenzie                               c.   Courmac Realty Trust
c. Carolyn Mackenzie                                d.    Mackenzie Construction
d. Ronald Mackenzie                                 e.    EIMIR (aka ElM) [real estate
e. Ronald Mackenzie, Jr.                                 consuIting and construction]
f. Maria Mackenzie                                  f.    Harborview Real Estate
g. Lauren Mackenzie                                      Corporation
h. Krystal Donnelly (aka KrystaJ                    g.    Space Propulsion Systems, Inc.
MacDonald)                                          h.   MZA Trust
i. Thomas J. Kennedy                                J.    Boston Society of the New
j. John Burke                                            Jerusalem, Inc.
k. Doug Hanson                                      j.   Bostonview Corp. Board
I. Michael Snedecker                                k.   BVC Trust
m. Jack Snedecker                                   I.   Looney & Grossman
n. Martin RaffoI                                    m.    Low Overhead Discount Carpet
o. Mathew Raffol                                    n.   Metro City Painting Services, Inc.
p. Lindsey Raffol                                   o.   ASAP Plumbing and Heating
q. Michael Travers                                  p.   Superior Plumbing Inc.
r, Robert Hynes                                     q.   Nightingale Construction Co. Inc.
s. Michael Perry                                    r.   Lovely Pets, Inc.;
t. Peter O'Connell
u. AI Nugent
v. Tina Bunn
w. Juan Figueroa
x, Mark Palluccio
y. Steven Bourgoin
z. Larry Reardon
aa, Marianne Baker
bb. John Baker
cc. Will Rodrigues
dd. Christopher Hebert
ee. Thomas DeRosa
ff. William Lane
gg. David Doherty
hh. Stephen Richmond
 ii. John Southern
ii. Steven (aka Glenn S.) Ellis
kk. Rex Ellis
 II. All Church tuition grant recipients



b. U.S. currency; and

c. Oxycodone (and records relating to oxycodone).




                                           -45­
       95. There is probable cause to believe that these materials and information exist at the

CHURCH because materials regarding the CHURCH's vendors, contracts, and fmancial

documents are regularly kept by the CHURCH (see below). Moreover, as detailed in the

Affidavit, MACKENZIE has conducted parts ofthis corrupt and unlawful activity inside the

CHURCH. For instance, several witnesses (including RAFFOL, the CARPET VENDOR, the

CONTRACTOR, the WALL VENDOR, and the FOREMAN) each have stated that

MACKENZIE had accepted thousands of dollars in cash kickback payments inside the

CHURCH.

       96. Further, on or about February 12,2013, SUSANNE ROGERS, the current Church

Treasurer, disclosed to the FBI that records currently stored at the CHURCH include: (i) Church

accounting records; (ii) Church vendor files and records; (iii) Church bank records; (iv) Church

tax returns and tax statements; (v) Church insurance records; (vi) Church financial statements;

and (vii) Church investment records.

       97. Furthermore, during an FBI interview on or about February 7, 2013, the current

Church President, MARY GUARINO, age 74, stated that the CHURCH stores and maintains

organizational documents, including the Church Council and Church Trustee minutes that pertain

to all Church business and transactions.

       98. Further, there is probable cause to believe that oxycodone may be secreted within the

CHURCH because the CS has stated that MACKENZIE informed the CS that MACKENZIE

used the CHURCH, specifically, a safe within the CHURCH, as a location to store

MACKENZIE's illegal supply of oxycodone. Although the CS had never personally observed

the CHURCH safe, the CS's information has been corroborated by ROGERS, who disclosed to

the FBI, in or about March 2013, that there is a safe inside the Church, which is accessed by




                                              -46­
MACKENZIE, and whose lock combination consists of digits that correspond with

MACKENZIE's date of birth (6/7/1958).

          B. THE BOSTONVIEW OFFICE

          99,    The records and items sought from the BOSTONVIEW OFFICE are more

particularly described as the evidence, fruits and instrumentalities of the specified federal

offenses, to include:

       a. Documents, records, correspondence, contracts and agreements, personnel files, bid
proposals, job specifications, invoices and bills, budgets, ledgers, accounting records, tax
records, tax forms, memoranda, notes, e-mails, telephone messages, diary and calendar entries,
and other information, from January 1,2002 to present, pertaining to the following;
                   Individuals                                           Entities
     a.   Edward J. Mackenzie, Jr.                        a.  Fillabuster Catering Trust
     b.   Courtney Mackenzie                              b.  Fillabusta Food Service
     c.   Carolyn Mackenzie                               c.  Courmac Realty Trust
     d,   Ronald Mackenzie                                d.  Mackenzie Construction
     e.   Ronald Mackenzie, Jr.                           e.  EIMIR (aka ElM) [real estate consulting
     f.   Maria Mackenzie                                    and construction]
     g.   Lauren Mackenzie                                f.  Harborview Real Estate Corporation
     h.   Krystal Donnelly (aka Krystal                   g.  Space Propulsion Systems, Inc.
         MacDonald                                        h. MZA Trust
     i.   Thomas J. Kennedy                               i.  Boston Society of the New Jerusalem,
     j.   John Burke                                         Inc.
     k.   Rex Ellis                                       j.  Bostonview Corp. Board
     J.   Doug Hanson                                     k.  BVCTrust
     m.   Martin Raffol                                   I.  Looney & Grossman
     n.   Mathew Raffol                                   m. Low Overhead Discount Carpet
     o.   Lindsey Raffol                                  n.  Metro City Painting Services, Inc.
     p,   Michael Travers                                 o.  ASAP Plumbing and Heating
     q,   Michael Perry                                   p.  Superior Plumbing Inc.
     r.   Peter O'Connell                                 q.  Nightingale Construction Co. Inc.
     s.   AI Nugent                                       r.  Lovely Pets, Inc.;
     t.   TinaBurm
     u.   Juan Figueroa
     v.   Steven Bourgoin
     w.   Larry Reardon
     x.   Marianne Baker
     y.   John Baker
     z.   Will Rodrigues
     aa, Christopher Hebert
     bb.  Thomas DeRosa
     cc.  William Lane
     dd.  David Doherty
     ee.  Stephen Richmond
     ff.  John Southern


                                                -47­
                   Individuals                                          Entities


        100.    There is probable cause to believe that these materials and information exist at

the BOSTONVIEW OFFICE because materials regarding the BOSTONVIEW APARTMENT's

vendors, contracts, and financial docwnents are regularly kept in the BOSTONVIEW OFFICES

(see below).

        101.    In or about March 2013, I was informed by SUSANNE ROGERS that BVC

business records are stored within the BOSTONVIEW OFFICE. Further, during the course of

this investigation, and based upon my and other agents' conversations with vendors that have

provided goods and services to the Church and the BOSTONVIEW APARTMENTS, I am aware

that it was a common practice for such vendors (including Metro City Painting Services, Lovely

Pets, Inc., Superior Plwnbing Inc., and Nightingale Construction Co. Inc.) to send Church and/or

BVC invoices to the BOSTONVIEW OFFICE via fax, electronic mail and/or regular mail.

       102.     Also, in my experience in conducting financial investigations and in the

experience of other agents with whom I have discussed this matter, it is normal and customary

for businesses to maintain diaries, appointment logs and calendars, telephone records, and

materials detailing contacts, meetings and arrangements with other business associates for years

after their creation or receipt. These records contain vast amounts of material useful to running

businesses day-to-day, and consequently are kept close at hand. Further, such records often

contain information about legitimate business operations that help docwnent expenses and

deductions for operating and tax purposes. In particular, with respect to business records,

business offices generally maintain their business records at their place of business for easy

employee access and convenience, and to manage the day-to-day affairs of the business - this




                                               -48­
includes records of past years' events, so that local business officers readily can access how they

treated matters in the past.

          C.       MACKENZIE RESIDENCE

          103.      The records and items sought from the MACKENZIE RESIDENCE are more

particularly described as the evidence, fruits and instrumentalities of the specified federal

offenses, to include:

          a.       Workpapers; schedules; actual, draft, blank or partial tax returns; and memoranda,
                   records and correspondence relating to the preparation of the tax returns of
                   MACKENZIE from January 1, 2007 to present.

          b.      Records and items reflecting the financial status (the origin, receipt, disbursement
                  and concealment of funds) of MACKENZIE and MACKENZIE
                  CONsTRUCTION, ElMIRJ. and ElM from January 1,2007 to present, including:

                          bank statements, statements of brokerage accounts, cash; cancelled
                          checks, deposit and withdrawal records; bills and receipts for
                          taxes, mortgage payments, utilities, phone, and credit card receipts;
                          payroll and commission records, general ledgers and journals,
                          accounts payable and receivable ledgers, purchase, receipt and
                          disbursement journals, paid bills and invoices, financial and
                          disclosure statements, certificates of incorporation;
                          correspondence, memoranda, mailing records; telephone diaries
                          and message pads; handwritten notes, appointment books, planners
                          and calendars; and

          c.      Documents, records, correspondence, emails, memoranda, notes and other
                  information pertaining to, from January 1,2002 to:
                     . Individuals                                        Entities
     a.        Courtney Mackenzie(relating to                   r.    The Boston Society of the New
               Courmac Realty Trust, the Boston                       Jerusalem
               Society of the New Jerusalem, and                s.     BostonViewCorp.
               BostonView Corp.)                                t.     Bostonview Apartments
     b.        Krystal Donnelly(aka Krystal                     u.    Fillabuster CateringTrust
               MacDonald)                                       v.    Fillabusta Food Service
     c.        Thomas J. Kennedy                                w.    Courmac Realty Trust
     d.        John Burke                                       x.     Mackenzie Construction
     e.        DouzHanson                                       y.    EIMJR (aka F/M) rreal estate


                                                   -49­
                       Individuals                                          Entities
     f.        Michael Snedecker                                        consulting and construction]
     g.        Jack Snedecker                                    z.      Harborview Real Estate
     h.        Martin Raffol                                            Corporation
     i.        Mathew Raffol                                     aa.     SpacePropulsion Systems, Inc.
     j.        Lindsey Raffol                                    bb.    MZA Trust
     k.        Michael Travers                                   cc.     Boston Society of the New
     1.        Robert Hynes                                             Jerusalem, Inc. (P.O.Box
     m.        Michael Perry                                            961071)
     n.        Peter O'Connell                                    dd.   BVCTrust
     o.        AI Nugent                                        . ee.   Looney & Grossman
     p.        TinaBurm                                          ff.    Low Overhead Discount Carpet
     q.        Juan Figueroa                                     gg.    Metro City Painting Services, Inc.
     r.        Mark Pal1uccio                                    hh.    ASAP PlumbingandHeating
     s.        Steven Bourgoin                                    ii.   SuperiorPlumbing Inc.
     t.        Larry Reardon                                     11·    Nightingale Construction Co. Inc.
     u.        Marianne Baker                                    kk,    Lovely Pets, Inc.;
     v.        John Baker
     w.        Will Rodrigues
     x.        ChristopherHebert
     y.        Thomas DeRosa
     z.        William Lane
     aa.       David Doherty
     bb.       Stephen Richmond
     cc.       John Southern
     dd.       Steven (aka Glenn S.) Ellis
     ee.       Rex Ellis


          d.      U.S. currency; and

          e.      Oxycodone, and documents and records relating to oxycodone distribution.

          104.      I submit that there is probable cause to believe that the materials sought will be

present at the MACKENZIE RESIDENCE. Surveillance conducted on April 11, 2013 and on

April 25, 2013 observed a vehicle registered in MACKENZIE's name (a black 2012 Nissan

Maxima registered in MACKENZIE's name and address) parked outside the MACKENZIE

RESIDENCE, indicating that MACKENZIE continues to use the MACKENZIE residence.

Moreover, I have reviewed certain bank records that reveal that MACKENZIE has received

regular monthly records of his bank accounts (such as bank statements and canceled checks) at



                                                   -50­
the MACKENZIE RESIDENCE. MACKENZIE's prescription records that were obtained by

the DEA Agents showed that, as of March 8,2013, MACKENZIE had regularly filled his

oxycodone prescriptions by listing the MACKENZIE RESIDENCE as his address.

MACKENZIE's U.S. Individual Income Tax Return Forms 1040 for the tax years 2007 to 2011

listed the MACKENZIE RESIDENCE as MAC~NZIE's address. Most recently, on or about

February 18,2013, MACKENZIE signed his U.S. Individual Income Tax Return Form 1030 for

the tax year 2011, which was then filed by mail in an envelope to the IRS on or about March 7,

2013, with the MACKENZIE RESIDENCE as the return address on such envelope.

Accordingly, it is likely that MACKENZIE maintains, and continues to maintain on an ongoing

basis, records of his transactions at the MACKENZIE RESIDENCE, including materials relating

to the receipt and subsequent disposition of money.

       105. Further, based upon my and other agents' interviews with the subjects of this

investigation (including the PAINTERS, the FOREMAN, the CONTRACTOR, and the

AQUARIUM OWNER) I am informed that MACKENZIE used the MACKENZIE residence as

a base to receive corrupt goods and services (e.g., the Third Fish Tank and maintenance, and

renovations from the CONTRACTOR after a fish tank leak were performed at the MACKENZIE

RESIDENCE) and to receive cash (e.g., the PAINTERS would on occasion hand MACKENZIE

cash at the MACKENZIE RESIDENCE; and the FOREMAN and the CONTRACTOR met

MACKENZIE near the MACKENZIE RESIDENCE to deliver cash kickbacks). In addition, not

only do MACKENZIE's prescription records tie oxycodone to the MACKENZIE RESIDENCE,

I am informed by the DEA Agents that the CS disclosed that MACKENZIE provides oxycodone

to one of MACKENZIE's girlfriends at the MACKENZIE residence.




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        106.     Furthermore, in my experience in conducting financial investigations and in the

experience of other agents with whom I have discussed this matter, it is normal and customary

for businesspeople like MACKENZIE to maintain diaries, appointment logs and calendars,

telephone records, and materials detailing contacts, meetings and arrangements with other

business associates for years after their creation or receipt. These records contain vast amounts

of material useful to running businesses day-to-day, and consequently are kept close at hand, for

instance at a person's residence or place of business.

        107.   Also, in my experience in conducting financial investigations and the experience

of agents with whom I have discussed this matter, people generally maintain their personal

financial records at home. I have further found that individuals generally maintain personal

financial records in their residence for the purpose of preparing to file tax returns and dealing

with other personal financial matters. In this regard, Title 26, United States Code, Section 6001,

requires that every person liable for any tax, or for the collection of tax, keep such records as are

prescribed by IRS regulation. IRS regulations require that any person subject to tax keep "such

permanent books of account or records ... as are sufficient to establish the amount of gross

income, deductions, credits, or other matters required to be shown by such person." 26 C.F.R. §

1.6001-1 (a). These records must be retained "so long as the contents thereof may become

material in the administration of any internal revenue law." 26 C.F.R. § 1.6001-1(e). Therefore,

there is probable cause to believe that MACKENZIE maintains the above sought-after materials

at the MACKENZIE RESIDENCE




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Computers

        108.   As execution of prior warrants has shown, and as I have learned myself and been

advised by other agents, it is now common for individuals and organizations, to keep financial

and other records on computers, both fixed and portable, and to use computers to communicate

with others. A review of MACKENZIE's 2010 tax returns prepared by Richard Murphy and

Associates reveals that MACKENZIE had filed returns through this accounting finn

electronically. Business records for Metro City Painting Services, Inc. and Superior Plumbing

Inc. showed that MACKENZIE received bid proposals, contract documents, and other business

correspondence via his electronic mail account, emacke3548@aol.com. Moreover, I am

informed by Church Treasurer SUSANNE ROGERS that the CHURCH regularly conducts

business via computers and electronic mail, and that the CHURCH owns multiple computers and

maintains hard copies of printed electronic mails as part of the business records kept within the

CHURCH. The CHURCH also maintains an internet site, as noted above. Finally, I am

informed by ROGERS that the BOSTONVIEW OFFICE has computers and regularly conducts

business via computers and electronic mail. In the course of this investigation, I have reviewed

electronic mails that were generated at the BOSTONVIEW OFFICE in connection with Metro

City Painting Services, Inc. and Superior Plumbing Inc. For all of the above reasons, therefore,

there is probable cause to believe that computers and computer equipment were used in

conjunction with the specified federal offenses and exist at the subject locations.

       109.    I have learned from an FBI computer specialist, who has received training in the

execution of search warrants involving computers and related equipment, electronic data

preparation, and the recovery, documentation and authentication of evidence that computer data

can be stored on a variety of systems and storage devices, including hard disk drives, floppy




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disks, compact disks, magnetic tapes and memory chips. I also know that, during the search of a

premises, it is not always possible to search computer equipment and storage devices for data for

a number of reasons, including the following:

       (a)     Searching computer systems is a highly technical process which requires specific

expertise and specialized equipment. There are so many types of computer hardware and

software in use today that it is impossibleto bring to the search site all of the necessary technical

manuals and specialized equipment necessary to conduct a thorough search. In addition, it may

also be necessary to consult with computer personnel who have specific expertise in the type of

computer, software application or operating system that is being searched.

       (b)     Searching computer systems requires the use of precise, scientific procedures

which are designed to maintain the integrity of the evidence and to recover hidden, erased,

compressed, encrypted or password-protected data. Computer hardware and storage devices

may contain booby traps that destroy or alter data if certain procedures are not scrupulously

followed. Since computer data is particularly vulnerable to inadvertent or intentional

modification or destruction, a controlled environment, such as a law enforcement laboratory, is

essential to conducting a complete and accurate analysis of the equipment and storage devices

from which the data will be extracted.

       (c)     The volume of data stored on many computer systems and storage devices will

typically be so large that it will be highly impractical to search for data duringthe execution of

the physical search of the premises. A single megabyte of storage space is the equivalent of 500

double-spaced pages of text. A single gigabyte of storage space, or 1,000 megabytes, is the

equivalent of 500,000 double-spaced pages of text. Storage devices capable of storing fifteen

gigabytes of data are now commonplace in desktop computers.




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        (d)     Computer users can attempt to conceal data within computer equipment and

storage devices through a number of methods, including the use of innocuous or misleading

filenames and extensions. For example, files with the extension .jpg often are image files;

however, a user can easily change the extension to .txt to conceal the image and make it appear

that the file contains text. Computer users can also attempt to conceal data by using encryption,

which means that a password or device, such as a dongle or keycard, is necessary to decrypt the

data into readable form. In addition, computer users can conceal data within another seemingly

unrelated and innocuous file in a process called steganography. For example, by using

steganography a computer user can conceal text in an image file which cannot be viewed when

the image file is opened. Therefore, a substantial amount of time is necessary to extract and sort

through data that is concealed or encrypted to determine whether it is evidence, contraband or

instrumentalities of a crime.

        110.    In searching for data capable of being read, stored or interpreted by a computer,

law enforcement personnel executing this search warrant will employ the following procedure:

        (a) Upon securing the premises, law enforcement personnel will copy or secure an image

of computer media containing items, materials and evidence sought by the warrant and promptly

transport such material to an appropriate law enforcement laboratory for review. Ifunable to

copy or image such material, law enforcement personnel will seize the computer equipment and

storage devices and promptly transport such material to an appropriate law enforcement

laboratory for review. Such computer media, equipment and storage devices will be reviewed by

appropriately trained personnel (''the computer personnel") in order to extract and seize any data

that falls within the list of items to be seized.




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        (b)     In searchingthe data, the computer personnel may examine all of the data

contained in the computer media, equipmentand storage devices to view their precisecontents

and determine whether the data falls within the items to be seized as set forth herein. In addition,

the computer personnel may search for and attempt to recover deleted, hidden or encrypted data

to determine whether the data falls within the list of items to be seized as set forth herein.

       (c) If the computerpersonnel determine that the data does not fall withinany of the items

to be seized pursuant to this warrant or is not otherwiseproperly seized, the government will

return these items within a reasonable period of time.

        111.    In order to search for data that is capable of being read or interpreted by a

computer, law enforcementpersonnel will need to seize and search the following items, subject

to the procedures set forth above:

       (a)      Any computer equipmentand storage device capable of being used to store the

documents, materials and evidence listed above in paragraphs 94, 99, and 103;

       (b)      Any computerequipment used to facilitatethe transmission, creation, display,

encoding or storage of the documents, materials and evidence listed above in paragraphs 94,99,

and 103, including word processingequipment, modems, docking stations, monitors, printers,

plotters, encryption devices, and optical scanners;

       (c)      Any magnetic, electronic or optical storage device capable of storing the

documents, materials and evidence listed above in paragraphs 94, 99, and 103, such as floppy

disks, hard disks, tapes, CD-ROMs, CD-R, CD-RWs, DVDs, optical disks, printer or memory

buffers, smart cards, PC cards, memory calculators, electronicdialers, electronicnotebooks, and

personal digital assistants;




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        (d)     Any documentation, operating logs and reference manuals regarding the operation

of the computer equipment, storage devices or software;

        (e)     Any applications, utility programs, compilers, interpreters, and other software

used to facilitate direct or indirect communication with the computer hardware, storage devices

or data to be searched;

        (f)     Any physical keys, encryption devices, dongles and similar physical items that are

necessary to gain access to the computer equipment, storage devices or data; and

        (g)     Any passwords, password files, test keys, encryption codes or other information

necessary to access the computer equipment, storage devices or data.

        112.    In sum, I have probable cause to believe that evidence, fruits and instrumentalities

of the specified federal offenses exist at the subject locations.




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Sealing of Papers Relating to the Proposed Searches

       113.      It is also respectfully requested that this Court issue orders that, with the

exception of a copy of the search warrant and inventory that will be left at each of the subject

locations, the documents upon which the search warrants are based and all other papers related to

the applications, including the Applications, Affidavits, Search Warrants, and Inventories, be

filed under, and are hereby sealed, until further order of this Court. The evidence to be seized

and the information upon which the applications are based is relevant to an ongoing grand jury

investigation and premature disclosure of the affidavits and related documents likely may have a

negative impact on other aspects of the investigation and may jeopardize its effectiveness.




Sworn to and subscribed before me
this lstth day of May, 2013


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